Case 1:21-md-02989-CMA Document 409-1 Entered on FLSD Docket 09/21/2021 Page 1 of 34




                      EXHIBIT A
Case 1:21-md-02989-CMA Document 409-1 Entered on FLSD Docket 09/21/2021 Page 2 of 34




     Revised December 30, 2020
     Robinhood Financial LLC & Robinhood Securities, LLC Customer Agreement
     In consideration of Robinhood Financial LLC, Robinhood Securities, LLC, and their agents and assigns
     (collectively, "Robinhood") opening one or more accounts on my behalf ("My Account(s)" or the
     "Account(s)") for the purchase, sale or carrying of securities or contracts relating thereto and/or the
     borrowing of funds, which transactions are cleared through Robinhood Securities, I represent and agree
     with respect to all Accounts, whether margin or cash, to the terms set forth below (the "Agreement").
     When used in this Agreement, the words "I", "Me", "My", "We", or "Us" mean the owner(s) of the
     Account. For purposes of this Agreement, Business Days are Monday through Friday, excluding federal
     holidays. Any references to "days" found in this Agreement are calendar days unless indicated
     otherwise.
     I UNDERSTAND THAT THE TERMS AND CONDITIONS OF THIS AGREEMENT GOVERN ALL
     ASPECTS OF MY RELATIONSHIP WITH ROBINHOOD REGARDING MY ACCOUNTS. I WILL
     CAREFULLY READ, UNDERSTAND AND ACCEPT THE TERMS AND CONDITIONS OF THIS
     AGREEMENT BEFORE I CLICK "SUBMIT APPLICATION" OR OTHER SIMILARLY WORDED
     BUTTON. IF I HAVE ANY QUESTIONS ABOUT ANY OF THE PROVISIONS IN THIS AGREEMENT,
     I WILL EMAIL HELP@ROBINHOOD.COM. I UNDERSTAND THAT CLICKING "SUBMIT
     APPLICATION" IS THE LEGAL EQUIVALENT OF MY MANUALLY SIGNING THIS AGREEMENT
     AND I WILL BE LEGALLY BOUND BY ITS TERMS AND CONDITIONS. BY ENTERING INTO
     THIS AGREEMENT, I ACKNOWLEDGE RECEIPT OF THE ROBINHOOD PRIVACY POLICY AND
     PRIVACY AND SECURITY STATEMENT. I UNDERSTAND THAT THIS AGREEMENT MAY BE
     AMENDED FROM TIME TO TIME BY ROBINHOOD, WITH REVISED TERMS POSTED ON THE
     ROBINHOOD WEBSITE. I AGREE TO CHECK FOR UPDATES TO THIS AGREEMENT. I
     UNDERSTAND THAT BY CONTINUING TO MAINTAIN MY SECURITIES BROKERAGE
     ACCOUNT WITHOUT OBJECTING TO ANY REVISED TERMS OF THIS AGREEMENT, I AM
     ACCEPTING THE TERMS OF THE REVISED AGREEMENT AND I WILL BE LEGALLY BOUND
     BY ITS TERMS AND CONDITIONS. IF I REQUEST OTHER SERVICES PROVIDED BY
     ROBINHOOD THAT REQUIRE ME TO AGREE TO SPECIFIC TERMS AND CONDITIONS
     ELECTRONICALLY (THROUGH CLICKS OR OTHER ACTIONS) OR OTHERWISE, SUCH TERMS
     AND CONDITIONS WILL BE DEEMED AN AMENDMENT AND WILL BE INCORPORATED INTO
     AND MADE PART OF THIS AGREEMENT. I ALSO UNDERSTAND THAT BY CLICKING "SUBMIT
     APPLICATION" I HAVE ACKNOWLEDGED THAT THIS AGREEMENT CONTAINS A PREDISPUTE
     ARBITRATION CLAUSE IN SECTION 38 HEREIN.

     1. Capacity and Status.
     If an individual, I am of legal age under the laws of the state where I reside and authorized to enter into
     this Agreement. If an entity, I am duly formed, validly existing and in good standing in My state of
     organization, have full power and authority to enter and perform this Agreement, and the persons signing
     the account application are fully authorized to act on My behalf. No person, except Myself, has any
     interest in the Account opened pursuant to this Agreement. I acknowledge that unless Robinhood
     receives written objection from Me, Robinhood may provide My name, address, and securities positions
     to requesting companies in which I hold securities. Except as otherwise disclosed to Robinhood in
     writing, neither I nor any member of My immediate family is an employee of any exchange, any
     corporation of which any exchange owns a majority of the capital stock, a member of any exchange or
     self-regulatory organization, a member of any firm or member corporation registered on any exchange, a
     bank, trust company, insurance company or any corporation, firm or individual engaged in the business
     of dealing either as a broker-dealer or as principal in securities. I understand and agree that I am
     obligated to promptly notify Robinhood in writing if I or a member of My immediate family becomes
     registered or employed in any of the above-described capacities. Except as otherwise disclosed to
     Robinhood in writing, I am not a Professional (as defined below). I further agree to promptly notify
     Robinhood in writing if I am now or if I become a Professional or an officer, director or 10% stockholder
     of any publicly traded company.

     2. Market Data.
     Robinhood may choose to make certain market data available to Me pursuant to the terms and
     conditions set forth in this Agreement. By executing this Agreement, I agree to comply with those terms
     and conditions.

                                                          1                                               2020.12
Case 1:21-md-02989-CMA Document 409-1 Entered on FLSD Docket 09/21/2021 Page 3 of 34



     A. Definitions.

        1. "Market Data" means (a) last sale information and quotation information relating to securities that
           are admitted to dealings on the New York Stock Exchange ("NYSE"), (b) such bond and other
           equity last sale and quotation information, and such index and other market information, as United
           States-registered national securities exchanges and national securities associations (each, an
           "Authorizing SRO") may make available and as the NYSE may from time to time designate as
           "Market Data"; and (c) all information that derives from any such information.
        2. "Nonprofessional" means any natural person who receives market data solely for his/her
           personal, non- business use and who is not a "Professional." A "Professional" includes an
           individual who, if working in the United States, is: (i) registered or qualified with the Securities and
           Exchange Commission (the "SEC"), the Commodity Futures Trading Commission (the "CFTC"),
           any state securities agency, any securities exchange or association, or any commodities or
           futures contract market or association; (ii) engaged as an "investment advisor" as that term is
           defined in Section 202 (a) (11) of the Investment Advisers Act of 1940 (whether or not registered
           or qualified under that Act), or (iii) employed by a bank or other organization exempt from
           registration under federal and/or state securities laws to perform functions that would require him
           or her to be so registered or qualified if he or she were to perform such functions for an
           organization not so exempt. A person who works outside of the United States will be considered a
           "Professional" if he or she performs the same functions as someone who would be considered a
           "Professional" in the United States.


     B. Provisions Applicable to All Users.

        1. Proprietary Nature of Data. I understand and acknowledge that each Authorizing SRO and Other
           Data Disseminator (as defined below) has a proprietary interest in the Market Data that originates
           on or derives from it or its market(s). I agree not to reproduce, distribute, sell or commercially
           exploit the Market Data in any manner.
        2. Enforcement. I understand and acknowledge that (a) the Authorizing SROs are third-party
           beneficiaries under this Agreement and (b) the Authorizing SROs or their authorized
           representative(s) may enforce this Agreement, by legal proceedings or otherwise, against Me or
           any person that obtains Market Data that is made available pursuant to this Agreement other than
           as this Agreement contemplates.
        3. Data Not Guaranteed. I understand that neither Robinhood nor any Authorizing SRO, other entity
           whose information is made available over the Authorizing SROs' facilities (an "Other Data
           Disseminator"), or information processor that assists any Authorizing SRO or Other Data
           Disseminator in making Market Data available (collectively, the "Disseminating Parties")
           guarantees the timeliness, sequence, accuracy, completeness, reliability, or content of Market
           Data or of other market information or messages disseminated to or by any Disseminating Party. I
           understand that neither Robinhood Financial nor any Disseminating Party guarantees the
           timeliness, sequence, accuracy, completeness, reliability or content of market information, or
           messages disseminated to or by any party. I understand that neither Robinhood Financial nor any
           Disseminating Party warrants that the service provided by any such entity will be uninterrupted or
           error-free. I further understand that Market Data by Xignite provides market data to Robinhood
           Financial customers. NEITHER ROBINHOOD FINANCIAL, ANY OF ITS AFFILIATES, THEIR
           RESPECTIVE OFFICERS OR EMPLOYEES, NOR ANY DISSEMINATING PARTY SHALL BE
           LIABLE IN ANY WAY FOR (A) ANY INACCURACY, ERROR OR DELAY IN, OR OMISSION
           OF, (I) ANY MARKET DATA, INFORMATION OR MESSAGE, OR (II) THE TRANSMISSION
           OR DELIVERY OF ANY SUCH DATA, INFORMATION OR MESSAGE; OR (B) ANY LOSS (AS
           DEFINED IN THIS AGREEMENT) OR DAMAGE ARISING FROM OR OCCASIONED BY (I)
           ANY SUCH INACCURACY, ERROR, DELAY OR OMISSION, (II) NON-PERFORMANCE OR
           III) INTERRUPTION IN ANY SUCH MARKET DATA, INFORMATION, OR MESSAGE,
           WHETHER DUE TO ANY ACT OR OMISSION BY ROBINHOOD FINANCIAL, ANY OF ITS
           AFFILIATES, THEIR RESPECTIVE OFFICERS OR EMPLOYEES, OR ANY DISSEMINATING
           PARTY, OR TO ANY "FORCE MAJEURE" (E.G., FLOOD, EXTRAORDINARY WEATHER
           CONDITIONS, EARTHQUAKE OR OTHER ACT OF GOD, FIRE, WAR, INSURRECTION,
           RIOT, LABOR DISPUTE, ACCIDENT, ACTION OF GOVERNMENT, OR COMMUNICATIONS
           OR POWER FAILURE, EQUIPMENT OR SOFTWARE MALFUNCTION) OR ANY OTHER

                                                          2                                                 2020.12
Case 1:21-md-02989-CMA Document 409-1 Entered on FLSD Docket 09/21/2021 Page 4 of 34



          CAUSE BEYOND THE REASONABLE CONTROL OF ROBINHOOD FINANCIAL, ITS
          AFFILIATES, THEIR RESPECTIVE OFFICERS AND EMPLOYEES, OR ANY
          DISSEMINATING PARTY.

        4. Permitted Use. I shall not furnish Market Data to any other person or entity. If I receive Market
           Data other than as a Nonprofessional, I shall use Market Data only for My individual use.

        5. Dissemination, Discontinuance, or Modification. I understand and acknowledge that, at any time,
           the Authorizing SROs may discontinue disseminating any category of Market Data, may change
           or eliminate any transmission method and may change transmission speeds or other signal
           characteristics. The Authorizing SROs shall not be liable for any resulting liability, loss or
           damages that may arise therefrom.

        6. Duration; Survival. This Section 2 of this Agreement remains in effect for so long as I have the
           ability to receive Market Data as contemplated by this Section 2. In addition, Sections 2(B)(1)-(3)
           and the first two sentences of Section 2(B)(7), survive any termination of this Agreement.

        7. Miscellaneous. The laws of the State of New York shall govern this Section 2 and it shall be
           interpreted in accordance with those laws. This Subsection is subject to the Securities Exchange
           Act of 1934, the rules promulgated under that act, and the joint-industry plans entered into
           pursuant to that act.


     C. Provisions Applicable to Nonprofessionals.

        1. Permitted Receipt. I understand that I may not receive Market Data from Robinhood as a
           Nonprofessional, and Robinhood may not provide Market Data to Me as a Nonprofessional,
           unless Robinhood first properly determines that I qualify as a Nonprofessional as defined above
           and I in fact qualify as a Nonprofessional. I agree that, as a prerequisite to Robinhood Financial
           qualifying Me as a Nonprofessional, I will provide to Robinhood truthful and accurate information
           about Me, such as: my occupation, employer, employment position and functions; my use of
           Market Data; my registration status with any securities agency, exchange, association, or
           regulatory body, or any commodities or future contract market, association, or regulatory body,
           whether in the United States or elsewhere; and any compensation of any kind I may receive from
           any individual or entity for my trading activities, asset management, or investment advice. Except
           as otherwise declared to Robinhood in writing, by executing this Agreement, I certify that I meet
           the definition of Nonprofessional as set forth in this Agreement.
        2. Permitted Use. If I am a Nonprofessional, I agree to receive Market Data solely for my personal,
           non-business use.
        3. Notification. I shall notify Robinhood promptly in writing of any change in my circumstances that
           may cause Me to cease to qualify as a Nonprofessional.

     3. NASDAQ OMX Information.

     A. Definitions.

        1. "Information" means certain market data and other data disseminated that has been collected,
           validated, processed, and recorded by any system NASDAQ OMX has developed for the creation
           or dissemination of Information or other sources made available for transmission to and receipt
           from either a distributor such as RHF or from NASDAQ OMX relating to: a) eligible securities or
           other financial instruments, markets, products, vehicles, indicators, or devices; b) activities of a
           NASDAQ OMX company; c) other information and data from a NASDAQ OMX company.
           "Information" also includes any element of Information as used or processed in such a way that
           the Information can be identified, recalculated or re-engineered from the processed Information or
           that the processed Information can be used as a substitute for Information.
        2. "NASDAQ OMX" means The NASDAQ OMX Group, Inc., a Delaware limited liability company
           and its subsidiaries and Affiliates (collectively, "NASDAQ OMX").


                                                         3                                               2020.12
Case 1:21-md-02989-CMA Document 409-1 Entered on FLSD Docket 09/21/2021 Page 5 of 34



     B. Use of Data.

     I understand that I may use the Information only for personal use and not for any business purpose. I
     may not sell, lease, furnish or otherwise permit or provide access to the Information to any other natural
     person or entity ("Person") or to any other office or place. I will not engage in the operation of any illegal
     business use or permit anyone else to use the Information, or any part thereof, for any illegal purpose or
     violate any NASDAQ OMX or SEC Rule or any FSA rule or other applicable law, rule or regulation. I may
     not present the Information rendered in any unfair, misleading or discriminatory format. I shall take
     reasonable security precautions to prevent any Person other than Myself from gaining access to the
     Information.


     C. Proprietary Data.

     I acknowledge and agree that NASDAQ OMX has proprietary rights to the Information that originates on
     or derives from markets regulated or operated by NASDAQ OMX, and compilation or other rights to
     Information gathered from other sources. I further acknowledge and agree that NASDAQ OMX's third-
     party information providers have exclusive proprietary rights to their respective Information. In the event
     of any misappropriation or misuse by Me or anyone who accesses the Information through Me,
     NASDAQ OMX or its third-party information providers shall have the right to obtain injunctive relief for its
     respective materials.


     D. System.

     I acknowledge that NASDAQ OMX, in its sole discretion, may from time-to-time make modifications to
     its system or the Information. Such modifications may require corresponding changes to be made in
     Robinhood Financial's service. Changes or the failure to make timely changes by Me may sever or
     affect My access to or use of the Information. I understand that neither NASDAQ OMX nor Robinhood
     shall be responsible for such effects.


     E. NASDAQ OMX Limitation of Liability.

     Except as may otherwise be set forth herein, NASDAQ OMX shall not be liable to Me for indirect,
     special, punitive, consequential or incidental loss or damage (including, but not limited to, trading losses,
     lost profits, or other indirect loss or damage) of any nature arising from any cause whatsoever, even if
     NASDAQ OMX has been advised of the possibility of such damages. NASDAQ OMX shall not be liable
     to Me for any unavailability, interruption, delay, incompleteness or inaccuracy of the Information. This
     Section shall not relieve NASDAQ OMX or Me from liability for damages that result from their own gross
     negligence or willful tortious misconduct or from personal injury or wrongful death claims. I agree that the
     terms of this Section reflect a reasonable allocation of risk and limitation of liability.


     F. Disclaimers of Warranties.

     NASDAQ OMX and its third-party information providers make no warranties of any kind with respect to
     the Information---express, implied or statutory (including without limitation, timeliness, truthfulness,
     sequence, completeness, accuracy, freedom from interruption), any implied warranties arising from trade
     usage, course of dealing, course of performance or the implied warranties of merchantability or fitness
     for a particular use or purpose or noninfringement.


     G. Termination by NASDAQ OMX.

     I acknowledge that NASDAQ OMX, when required to do so in fulfillment of statutory obligations, may by
     notice to Robinhood unilaterally limit or terminate the right of any or all Persons to receive or use the

                                                           4                                                2020.12
Case 1:21-md-02989-CMA Document 409-1 Entered on FLSD Docket 09/21/2021 Page 6 of 34



     Information and that Robinhood will comply with any such notice and will terminate or limit the furnishing
     of the Information.

     4. Authorization.
     I understand that My Account is self-directed. Accordingly, I appoint Robinhood Financial as My agent for
     the purpose of carrying out My directions to Robinhood Financial in accordance with the terms and
     conditions of this Agreement and any attendant risks with respect to the purchase or sale of securities.
     Robinhood Financial is authorized to open or close My Account(s), place and withdraw orders and take
     such other steps as are reasonable to carry out My directions. All transactions will be effected only on
     My order or the order of My authorized delegate, except as described in Section 10. I understand
     Robinhood Financial provides trading and brokerage services through the Robinhood website (the
     "Website") and the Robinhood mobile application (the "App"). I agree to receive and transmit financial
     information through such electronic means. My use or My grant of access to My Account to any third
     party to access information or place transactions in My Account is solely at My risk.

     5. Customer Representations and Responsibilities.

     A. Self-directed Account.

     I understand that My Account is self-directed, and so that I am solely responsible for any and all orders
     placed in My Account and that all orders entered by Me or on My behalf are unsolicited and based on My
     own investment decisions or the investment decision of My duly authorized representative or agent.
     Accordingly, I agree that neither Robinhood nor any of its employees, agents, principals, or
     representatives:
         1. provide investment advice in connection with this Account;
         2. recommend any security, transaction or order;

         3. solicit orders;
         4. act as a market maker in any security;
         5. make discretionary trades; and
         6. produce or provide first-party research providing a specific investment strategies such as buy, sell
            or hold recommendations, first-party ratings and/or price targets. To the extent research materials
            or similar information are available through the App or the Website or the websites of any entity
            controlled by, controlling, or under common control with Robinhood (such entity, an "Affiliate"), I
            understand that these materials are intended for informational and educational purposes only and
            they do not constitute a recommendation to enter into any securities transactions or to engage in
            any investment strategies.


     B. Information Accuracy.

     I: (i) certify that the information contained in this Agreement, the account application, and any other
     document that I furnish to Robinhood Financial in connection with My Account(s) is complete, true and
     correct, and acknowledge that knowingly giving false information for the purpose of inducing Robinhood
     Financial to extend credit is a federal crime; (ii) authorize Robinhood Financial to contact any individual
     or firm noted herein or on the documents referred to in subsection (i) of this Section and any other normal
     sources of debit or credit information; (iii) authorize anyone so contacted to furnish such information to
     Robinhood Financial as Robinhood may request; and (iv) agree that this Agreement, the account
     application and any other document I furnish in connection with My Account is Robinhood's property, as
     the case may be. I shall promptly advise Robinhood Financial of any changes to the information in such
     agreements and documents in writing within ten (10) calendar days. I authorize Robinhood Financial to
     obtain reports and provide information to others concerning My creditworthiness and business conduct.
     Upon My request, Robinhood agrees to provide Me a copy of any report so obtained. Robinhood may


                                                         5                                               2020.12
Case 1:21-md-02989-CMA Document 409-1 Entered on FLSD Docket 09/21/2021 Page 7 of 34



     retain this Agreement, the Account application, and all other such documents and their respective
     records at Its sole discretion, whether or not credit is extended.


     C. Risks.

     I understand that all investments involve risk, that losses may exceed the principal invested, and that
     the past performance of a security, industry, sector, market, or financial product does not guarantee
     future results or returns.


     D. Account Defaults.

     I understand that My Account comes with many defaulted service instruction features and preferences. I
     further understand that I am not required to use these defaulted options or preferences and that once My
     Account is approved and opened I have the sole discretion to control and adjust such defaulted service
     preferences that relate to My account.


     E. Knowledge of Account.

     I understand that I am solely responsible for knowing the rights and terms for all securities purchased,
     sold and maintained in My Account including mergers, reorganizations, stock splits, name changes or
     symbol changes, dividends, option symbols, and option deliverables. I further understand that certain
     securities may grant Me valuable rights that may expire unless I take specific action. These securities
     include bonds, convertible securities, warrants, stock rights and securities subject to exchange offers or
     tenders. I am responsible for knowing all expiration dates, redemption dates, and the circumstances
     under which rights associated with My securities may be called, cancelled, or modified. Robinhood may,
     but are not obligated to, notify Me of any upcoming expiration or redemption dates, or take any action on
     My behalf without My specific instructions except as required by law and the rules of regulatory
     authorities. I acknowledge that Robinhood may adjust My Account to correct any error. If My Account
     has an option position on the last trading day prior to expiration, which is one cent or more in the money,
     Robinhood Financial will generally exercise the option, on My behalf. However, Robinhood Financial
     reserves the right at Its discretion to close any option position prior to expiration date or any position
     resulting from the exercising/assignment after option expiration. I will be charged a commission for any
     such transaction. Robinhood Financial is not obligated to take any of these actions and Robinhood
     Financial is not liable for Losses should it not take them.


     F. Purchases.

     All orders for the purchase of securities given for My Account will be authorized by Me and executed in
     reliance on My promise that an actual purchase is intended. It is My obligation to pay for purchases
     immediately or on Robinhood's demand. I understand Robinhood may at any time, in its sole discretion
     and without prior notice to Me, prohibit or restrict My ability to trade securities. I further agree not to
     allow any person to trade for My Account unless a trading authorization for that person has been
     received and approved by Robinhood. Robinhood reserve the right to require full payment in cleared
     funds prior to the acceptance of any order. In the event that I fail to provide sufficient funds, Robinhood
     may, at its option and without notice to Me, i) charge a reasonable rate of interest, ii) liquidate the
     Property subject of the buy order, or iii) sell other Property owned by Me and held in any of My Accounts.
     Robinhood may also charge any consequential Loss to My Account. For purposes of this Agreement,
     "Property" shall mean all monies, contracts, investments and options, whether for present or future
     delivery, and all related distributions, proceeds, products and accessions.




                                                          6                                              2020.12
Case 1:21-md-02989-CMA Document 409-1 Entered on FLSD Docket 09/21/2021 Page 8 of 34



     G. Sales/Short Sales.

     I promise to deliver all securities sold in My Account and to provide collateral of a type and amount
     acceptable to Robinhood Financial for all short sales in My Account. Robinhood Financial requires that a
     security be held in My Account prior to the acceptance of a sell order with respect to such security
     unless the order is specifically designated as a "short sale." If a security is not held in My Account and a
     sell order is processed, I must promptly deliver such security to Robinhood Financial for receipt in good
     deliverable form on or before the settlement date. Any order accepted without negotiable certificates or
     positions in My Account will be subject, at Robinhood Financial's sole discretion, to cancellation or buy-
     in. To ensure this will not occur, I agree to only place sell orders for securities owned by Me and held in
     My Account at the time My order is placed.

     Proceeds of a sale will not be paid to Me or released into My Account until Robinhood Financial has
     received the security in good deliverable form, whether from a transfer agent or from Me and the
     settlement of the security is complete. If the security is not received on or before settlement date, or as
     market conditions warrant, Robinhood Financial may in its sole discretion purchase the security on the
     open market for My Account and may liquidate and close out any and all securities in My Account in
     order to pay for such purchase. In the event a security is bought in, I will be responsible for all resulting
     Losses incurred by Robinhood Financial.
     I understand that I may execute short sales only in a margin Account and that such execution must
     comply with applicable short sales rules.


     H. Assistance by Robinhood.

     I understand that when I request assistance from Robinhood or its employees in using the investment
     tools available on the Website or the App, it will be limited to an explanation of the tool's functionality
     and, if requested by Me, to the entry by Robinhood or its employees of variables provided by Me, and
     that such assistance does not constitute investment advice, an opinion with respect to the suitability of
     any transaction, or solicitation of any orders.


     I. No Tax or Legal Advice.

     I understand that Robinhood does not provide tax or legal advice.


     J. Discontinuation of Services.

     I understand that Robinhood may discontinue My Account and any services related to My Account
     immediately by providing written notice to Me


     K. Electronic Access.

         1. I am solely responsible for keeping My Account numbers and PINs confidential and will not share
            them with third parties. "PINs" shall mean My username and password.

         2. I agree and accept full responsibility for monitoring and safeguarding My Accounts and access to
            My Accounts.
         3. I agree to immediately notify Robinhood in writing, delivered via e-mail and a recognized
            international delivery service, if I become aware of: (i) any loss, theft, or unauthorized use of My
            PINs or Account numbers; (ii) any failure by Me to receive any communication from Robinhood
            indicating that an order was received, executed or cancelled, as applicable; (iii) any failure by Me
            to receive an accurate written confirmation of an order, execution, or cancellation; (iv) any receipt
            by Me of confirmation of an order, execution or cancellation, which I did not place; (v) any


                                                           7                                                2020.12
Case 1:21-md-02989-CMA Document 409-1 Entered on FLSD Docket 09/21/2021 Page 9 of 34



            inaccurate information in or relating to My orders, trades, margin status, Account balances,
            deposits, withdrawals, securities positions or transaction history; or (vi) any other unauthorized
            use or access of My Account.
         4. Each of the events described in subsections (K)(3)(i)-(vi) shall be deemed a "Potential Fraudulent
            Event". The use and storage of any information including My Account numbers, PINs, portfolio
            information, transaction activity, account balances and any other information or orders available
            on My wireless, web-enabled cellular telephone or similar wireless communications device
            (collectively, "Mobile Device") or My personal computer is at My own risk and is My sole
            responsibility. I represent that I am solely responsible for and have authorized any orders or
            instructions appearing in, originating from, or associated with My Account, My Account number,
            My username and password, or PINs. I agree to notify Robinhood immediately after I discover
            any Potential Fraudulent Event, but in no event more than twenty-four (24) hours following
            discovery. Upon request by Robinhood, I agree to report any Potential Fraudulent Event promptly
            to legal authorities and provide Robinhood a copy of any report prepared by such legal authorities.
            I agree to cooperate fully with the legal authorities and Robinhood in any investigation of any
            Potential Fraudulent Event and I will complete any required affidavits promptly, accurately and
            thoroughly. I also agree to allow Robinhood access to My Mobile Device, My computer, and My
            network in connection with Robinhood's investigation of any Potential Fraudulent Event. I
            understand that if I fail to do any of these things I may encounter delays in regaining access to
            the funds in My Account. I agree to indemnify and hold Robinhood, its Affiliates, and Robinhood
            and its Affiliates' respective officers, directors, and employees harmless from and against any
            Losses arising out of or relating to any Potential Fraudulent Event. I acknowledge that Robinhood
            does not know when a person entering orders with My username and password is Me.
         5. Trusted Contact Person. I understand that, pursuant to FINRA regulations, Robinhood is
            authorized to contact the Trusted Contact Person (as defined by FINRA Rule 4512) designated
            for My Account and to disclose information about My account to address possible financial
            exploitation, to confirm the specifics of My current contact information, health status, or the
            identity of any legal guardian, executor, trustee or holder of a power of attorney, or as otherwise
            permitted by Rule 2165.

     6. Clearance of Trades.
     I understand that Robinhood Financial has entered into a clearing agreement with Robinhood Securities
     whereby Robinhood Financial will introduce My Account to Robinhood Securities, and Robinhood
     Securities will clear all transactions, on a fully-disclosed basis. I understand that Robinhood Securities
     carries My Account(s) and is responsible for the clearing and bookkeeping of transactions, but is not
     otherwise responsible for the conduct of Robinhood Financial.
     Until receipt from Me of written notice to the contrary, Robinhood Securities may accept from Robinhood
     Financial, without inquiry or investigation, (i) orders for the purchase or sale of securities and other
     property on margin, if I have elected to have a margin account, or otherwise, and (ii) any other
     instructions concerning my Accounts. Robinhood Securities shall look solely to Robinhood Financial
     unless otherwise directed by Robinhood Financial, and not to Me, with respect to any such orders or
     instructions; except that I understand that Robinhood Securities will deliver confirmations, statements,
     and all written or other notices with respect to My Account directly to Me with copies to Robinhood
     Financial, and that Robinhood Securities will look directly to Me or Robinhood Financial for delivery of
     margin, payment, or securities. I agree to hold Robinhood Securities harmless from and against any
     Losses arising in connection with the delivery or receipt of any such communication(s), provided
     Robinhood Securities has acted in accordance with the above. The foregoing shall be effective as to My
     Account(s) until written notice to the contrary is received from Me by Robinhood Securities or Robinhood
     Financial.

     7. Review of Confirmations and Statements.
     I agree that it is My responsibility to review order execution confirmations and statements of My
     Account(s) promptly upon receipt. I agree to receive all confirmations and account statements, as well
     as all tax related documents, in electronic format. I understand that account statements will evidence all
     activity in My Account for the stated period, including securities transactions, cash balances, credits to
     My Account and all fees paid from My Account. Notwithstanding Section 36.B, confirmations will be
     considered binding on Me unless I notify Robinhood of any objections within two (2) calendar days from
     the date confirmations are sent. Account statements will be considered binding on Me unless I notify you

                                                          8                                                2020.12
Case 1:21-md-02989-CMA Document 409-1 Entered on FLSD Docket 09/21/2021 Page 10 of
                                      34


    of any objections within ten (10) calendar days after My Account statements are posted online. Such
    objection may be oral or in writing, but any oral objection must be immediately confirmed in writing. In all
    cases, Robinhood reserves the right to determine the validity of My objection. If I object to a transaction
    for any reason, I understand and agree that I am obligated to take action to limit any losses that may
    result from such transaction or I will bear sole responsibility for any losses relating to the transaction,
    even if My objection to the transaction is ultimately determined to be valid. Nothing in this Section 7
    shall limit My responsibilities as described in Section 5 of this Agreement.

    8. Important Information Needed to Open a New Account.
    To help the government better detect the funding of terrorism and money laundering activities, federal
    law requires all financial institutions to obtain, verify, and record information that identifies each person
    who opens an account. Therefore, I understand that when I open My Account Robinhood will ask for My
    name, address, date of birth and other identifying information. Robinhood may also ask copies of My
    driver's license, passport or other identifying documents. I understand that Robinhood may take steps to
    verify the accuracy of the information I provide to Robinhood in My Account application or otherwise, and
    that Robinhood may restrict My access to My Account pending such verification. I will provide prompt
    notification to Robinhood of any changes in the information including My name, address, e-mail address
    and telephone number.

    I further understand that if I attempt to access My Account from a jurisdiction subject to certain U.S.
    sanctions or I am ordinarily resident in such a jurisdiction, or if you reasonably believe that I am
    attempting such access or have become a resident in such a jurisdiction, you may restrict My Account,
    and any pending orders may be cancelled. If this happens, I understand that I should contact
    help@robinhood.com, and that I may be asked to provide supplemental information as part of this
    process. I further understand that I must close My Account before establishing residency in any
    jurisdiction subject to U.S. sanctions.

    9. Telephone Conversations and Electronic Communications.
    I understand and agree that Robinhood may record and monitor any telephone or electronic
    communications with Me. Unless otherwise agreed in writing in advance, Robinhood does not consent
    to the recording of telephone conversations by any third party or Me. I acknowledge and understand that
    not all telephone or electronic communications are recorded by Robinhood, and Robinhood does not
    guarantee that recordings of any particular telephone or electronic communications will be retained or
    capable of being retrieved.

    10. Oral Authorization.
    I agree that Robinhood shall be entitled to act upon any oral instructions given by Me so long as
    Robinhood reasonably believes such instruction was actually given by Me or My authorized agent.

    11. Applicable Laws and Regulations.
    All transactions in My Account will be subject to federal securities laws and regulations, the applicable
    laws and regulations of any state or jurisdiction in which Robinhood Financial is registered, the rules of
    any applicable self-regulatory organization of which Robinhood Financial is a member and the rules,
    regulations, customs and usages of the exchange or market, and its clearing house, if any, where the
    transactions are executed. In no event will Robinhood Financial be obligated to effect any transaction it
    believes would violate any federal or state law, rule or regulation or the rules or regulations of any
    regulatory or self-regulatory organization.

    12. Erroneous Distributions.
    I agree to promptly return to Robinhood any assets erroneously distributed to Me. In the event that I sell
    a security prior to its ex-dividend/distribution date, and I receive the related cash/stock dividend or
    distribution in error, I direct Robinhood on My behalf to pay such dividend/distribution to the entitled
    purchaser of the securities I sold, and I guarantee to promptly reimburse Robinhood for, or deliver to
    Robinhood, said dividend or distribution.




                                                         9                                                2020.12
Case 1:21-md-02989-CMA Document 409-1 Entered on FLSD Docket 09/21/2021 Page 11 of
                                      34


    13. Market Volatility; Market Orders; Limit Orders; and Queued Orders.
    I understand that, whether I place a market or limit order, I will receive the price at which My order is
    executed in the marketplace, subject to any clarification stated below. Particularly during periods of high
    volume, illiquidity, fast movement or volatility in the marketplace, the execution price received may differ
    from the quote provided on entry of an order, and I may receive partial executions of an order at different
    prices. I understand that Robinhood Financial is not liable for any price fluctuations. I also understand
    that price quotes generally are for only a small number of shares as specified by the marketplace, and
    larger orders are relatively more likely to receive executions at prices that vary from the quotes or in
    multiple lots at different prices.
    I understand that Robinhood Financial does not currently support sending traditional market buy orders
    and that Robinhood Financial collars all market buy orders (other than dollar-based buy orders executed
    during market hours) by using limit orders priced up to 5% above the last trade price. This is not the
    case for market sell orders. I further understand that when I send a market buy order through Robinhood
    Financial's trading system, the trading system generates a limit order up to 5% above the last trade
    price, and then Robinhood Financial sends the order to an executing broker. I understand that Robinhood
    Financial's implementation of market buy orders may vary depending on prices of instruments, market
    conditions, and other factors. I further understand that Robinhood Financial uses the following rounding
    mechanics with respect to buy orders: the last trade price is (i) multiplied by 1.05; (ii) rounded down to
    two decimal places if the last trade price is over $1.00; otherwise, rounded down to four decimal places;
    and (iii) for securities included in the SEC's Tick Size Pilot Program, rounded down to the nearest $.05
    increment. I understand that securities may open for trading at prices substantially higher or lower than
    the previous closing price or the anticipated price. If I place a market order (whether during normal
    market hours or when the market is closed), I agree to pay or receive the prevailing market price at the
    time My market order is executed, subject to the specific clarification above relating to buy orders. I
    understand that the price I pay may be significantly higher or lower than anticipated at the time I placed
    the order. To avoid buying a security at a higher price and possibly exceeding My purchasing power, I
    understand My option to enter a limit order. I also understand that limit orders may not be executed at
    any particular time, or at all, if there is not sufficient trading at or better than the limit price I specify, and
    are only good until the end of the trading day in which they are entered. The Website contains further
    information regarding order types and limitations, which I agree to read and understand before placing
    such orders.
    As a customer of Robinhood Financial, I understand that after the market has closed for the day, I have
    the ability to place in a queue order requests to be executed the following day upon the opening of the
    market ("Queued Order"). I understand that My Queued Order request is prioritized based on the order in
    which it is received by Robinhood Financial, and that the Queued Order requests are sent out for
    execution shortly after the market opens on the next day of trading. I further understand that each
    Queued Order request is sent out per customer and per security as Robinhood Financial market orders
    (described above), and that they are not aggregated.
    A limit order may be "good till cancelled" which means the order remains valid until (A) it is executed; (B)
    I cancel the order; (C) approximately 90 days from when the order is placed; or (D) the contract to which
    it relates is closed. I understand that Robinhood will cancel a "good till cancelled" order at the end of
    every trading day (on the exchange on which the instrument to which the contract relates is traded) and
    place such order again at the start of the following trading day. This process will be repeated every day
    for as long as the "good till cancelled" order remains valid. I further agree that any "good till cancelled"
    orders I place should be treated as "do not reduce" orders.

    14. Bulletin Board/Pink Sheet Stocks.
    Bulletin board, pink sheet and other thinly-traded securities (collectively "bulletin board stocks") present
    particular trading risks, in part because they are relatively less liquid and more volatile than actively
    traded securities listed on a major exchange. I understand that bulletin board stocks may be subject to
    different trading rules and systems than other securities and that I may encounter significant delays in
    executions, reports of executions, and updating of quotations in trading bulletin board stocks. Robinhood
    Financial in its sole discretion may require limit orders on certain bulletin board stock transactions.

    15. Research and Internet Links.
    News, research, links to outside websites, and other information accessible through the App or Website
    ("Content") may be prepared by independent external providers not affiliated with Robinhood Financial,

                                                            10                                                  2020.12
Case 1:21-md-02989-CMA Document 409-1 Entered on FLSD Docket 09/21/2021 Page 12 of
                                      34


    including Morningstar, Inc. (all such providers, the "Providers"). I agree not to distribute, reproduce, sell,
    or otherwise commercially use the Content in any manner. I understand that Robinhood may terminate
    My access to the Content. I understand that none of the Content is a recommendation by Robinhood to
    buy or sell any securities or to engage in any investment strategy.

    16. Restrictions on Trading.
    I understand that Robinhood may, in its discretion, prohibit or restrict the trading of securities, or the
    substitution of securities, in any of My Accounts. I understand that Robinhood may execute all orders by
    Me on any exchange or market, unless I specifically instruct Robinhood to the contrary. In the event of a
    breach or default by Me under this Agreement, Robinhood shall have all rights and remedies available to
    a secured creditor under all applicable laws and in addition to the rights and remedies provided herein. I
    understand that Robinhood may at any time, at its sole discretion and without prior notice to Me: (i)
    prohibit or restrict My access to the use of the App or the Website or related services and My ability to
    trade, (ii) refuse to accept any of My transactions, (iii) refuse to execute any of My transactions, or (iv)
    terminate My Account. The closing of My Account will not affect the rights or obligations of either party
    incurred prior to the date My Account is closed.
    Further, Robinhood will not tolerate any foul or abusive language, physical violence, threatening behavior,
    or other inappropriate conduct directed toward Robinhood, its Affiliates' officers, employees, contractors
    or customers. If I engage in any such behavior, as determined by Robinhood in its sole discretion, I
    agree that Robinhood is authorized to: (i) liquidate any securities, instruments or other property in My
    Account, (ii) send Me the proceeds, and (iii) close My account. Robinhood will not be responsible for any
    Losses caused by the liquidation of securities, instruments or other property pursuant to this paragraph,
    including any tax liabilities.

    17. Waiver; Limitation of Liability; Indemnification.
    I agree that My use of the App or the Website or any other service provided by Robinhood Financial or
    its Affiliates is at My sole risk. The Robinhood Financial service (including the App, the Website, the
    provision of Market Data, Information, Content, or any other information provided by Robinhood
    Financial, any of its Affiliates, or any third-party content provider or market data provider) is provided on
    an "as is," "as available" basis without warranties of any kind, either express or implied, statutory
    (including without limitation, timeliness, truthfulness, sequence, completeness, accuracy, freedom from
    interruption), implied warranties arising from trade usage, course of dealing, course of performance, or
    the implied warranties of merchantability or fitness for a particular purpose or application, other than
    those warranties which are implied by and incapable of exclusion, restriction or modification under the
    laws applicable to this Agreement.
    Although considerable effort is expended to make the Website, App and other operational and
    communications channels available around the clock, Robinhood does not warrant that these channels
    will be available and error free every minute of the day. I agree that Robinhood will not be responsible for
    temporary interruptions in service due to maintenance, Website or App changes, or failures, nor shall
    Robinhood be liable for extended interruptions due to failures beyond our control, including but not limited
    to the failure of interconnecting and operating systems, computer viruses, forces of nature, labor
    disputes and armed conflicts.
    EXCEPT AS OTHERWISE EXPRESSLY PROVIDED IN THIS AGREEMENT, I UNDERSTAND AND
    AGREE THAT ROBINHOOD, ITS AFFILIATES, THEIR RESPECTIVE OFFICERS, DIRECTORS,
    EMPLOYEES AND AGENTS, AND THE PROVIDERS (COLLECTIVELY THE "ROBINHOOD
    PARTIES") WILL NOT BE LIABLE TO ME OR TO THIRD PARTIES UNDER ANY
    CIRCUMSTANCES, OR HAVE ANY RESPONSIBILITY WHATSOEVER, FOR ANY SPECIAL,
    INDIRECT, INCIDENTAL, PUNITIVE OR CONSEQUENTIAL DAMAGES (INCLUDING TRADING
    LOSSES, DAMAGES, LOSS OF PROFITS, REVENUE, OR GOODWILL) THAT I MAY INCUR IN
    CONNECTION WITH MY USE OF THE SERVICE PROVIDED BY ROBINHOOD OR ANY OF ITS
    AFFILIATES UNDER THIS AGREEMENT (INCLUDING MY USE OF THE APP, THE WEBSITE, THE
    MARKET DATA, THE INFORMATION, OR THE CONTENT), BREACH OF THIS AGREEMENT, OR
    ANY TERMINATION OF THIS AGREEMENT, WHETHER SUCH LIABILITY IS ASSERTED ON THE
    BASIS OF CONTRACT, TORT (INCLUDING NEGLIGENCE), OR OTHERWISE, AND WHETHER OR
    NOT FORESEEABLE, EVEN IF ANY ROBINHOOD PARTY HAS BEEN ADVISED OR WAS AWARE
    OF THE POSSIBILITY OF SUCH LOSS OR DAMAGES. THE ROBINHOOD PARTIES SHALL NOT
    BE LIABLE BY REASON OF DELAYS OR INTERRUPTIONS OF THE SERVICE OR
    TRANSMISSIONS, OR FAILURES OF PERFORMANCE OF THEIR RESPECTIVE SYSTEMS,

                                                          11                                                2020.12
Case 1:21-md-02989-CMA Document 409-1 Entered on FLSD Docket 09/21/2021 Page 13 of
                                      34


    REGARDLESS OF CAUSE, INCLUDING THOSE CAUSED BY GOVERNMENTAL OR
    REGULATORY ACTION, THE ACTION OF ANY EXCHANGE OR OTHER SELF REGULATORY
    ORGANIZATION, OR THOSE CAUSED BY SOFTWARE OR HARDWARE MALFUNCTIONS.
    Except as otherwise provided by law, Robinhood or any of its affiliates or respective partners, officers,
    directors, employees or agents (collectively, "Indemnified Parties") shall not be liable for any expenses,
    losses, costs, damages, liabilities, demands, debts, obligations, penalties, charges, claims, causes of
    action, penalties, fines and taxes of any kind or nature (including legal expenses and attorneys' fees)
    (whether known or unknown, absolute or contingent, liquidated or unliquidated, direct or indirect, due or
    to become due, accrued or not accrued, asserted or unasserted, related or not related to a third party
    claim, or otherwise) (collectively, "Losses") by or with respect to any matters pertaining to My Account,
    except to the extent that such Losses are actual Losses and are determined by a court of competent
    jurisdiction or an arbitration panel in a final non-appealable judgment or order to have resulted solely from
    Robinhood's or any of its affiliates' gross negligence or intentional misconduct. In addition, I agree that
    the Indemnified Parties shall have no liability for, and I agree to indemnify, defend and hold harmless the
    Indemnified Parties from all Losses that result from: (i) any noncompliance by Me with any of the terms
    and conditions of this Agreement; (ii) any third-party actions related to My receipt and use of any
    Information, Market Data, Content, market analysis, other third-party content, or other such information
    obtained on the App or Website, whether authorized or unauthorized under this Agreement; (iii) any third-
    party actions related to My use of the App or the Website; (iv) My or My agent's misrepresentation or
    alleged misrepresentation, or act or omission; (v) Indemnified Parties following My or My agent's
    directions or instructions, or failing to follow My or My agent's unlawful or unreasonable directions or
    instructions; (vi) any activities or services of the Indemnified Parties in connection with My Account
    (including any technology services, reporting, trading, research or capital introduction services); or (vii)
    the failure by any person not controlled by the Indemnified Parties and their affiliates to perform any
    obligations to Me. Further, if I authorize or allow third parties to gain access to Robinhood's services,
    including My Accounts, I will indemnify, defend and hold harmless the Indemnified Parties against any
    Losses arising out of claims or suits by such third parties based upon or relating to such access and
    use. Robinhood does not warrant against loss of use or any direct, indirect or consequential damages or
    Losses to Me caused by My assent, expressed or implied, to a third party accessing My Account or
    information, including access provided through any other third party systems or sites.
    I consent to the use of automated systems or service bureaus by Robinhood and its respective affiliates
    in conjunction with My Account, including automated order entry and execution, record keeping, reporting
    and account reconciliation and risk management systems (collectively "Automated Systems"). I
    understand that the use of Automated Systems entails risks, such as interruption or delays of service,
    errors or omissions in the information provided, system failure and errors in the design or functioning of
    such Automated Systems (collectively, a "System Failure") that could cause substantial damage,
    expense, or liability to Me. I understand and agree that Indemnified Parties will have no liability
    whatsoever for any of my Losses arising out of or relating to a System Failure.
    I also agree that Indemnified Parties will have no responsibility or liability to Me in connection with the
    performance or non-performance by any exchange, clearing organization, market data provider, or other
    third party (including other broker-dealers and clearing firms, and banks) or any of their respective agents
    or affiliates, of its or their obligations relative to any securities. I agree that Indemnified Parties will have
    no liability, to Me or to third parties, or responsibility whatsoever for: (i) any Losses resulting from a
    cause over which Indemnified Parties do not have direct control, including the failure of mechanical
    equipment, unauthorized access, theft, operator errors, government restrictions, force majeure (as
    defined in this Agreement), market data availability or quality, exchange rulings or suspension of trading;
    and (ii) any special, indirect, incidental, consequential, punitive or exemplary damages (including lost
    profits, trading losses and damages) that I may incur in connection with My use of the App, the Website,
    Robinhood's brokerage, and other services provided by Indemnified Parties under this Agreement.

    18. Mutual Fund Transactions.
    In the event that I purchase or hold a mutual fund, I agree to read and understand the terms of its
    prospectus. I understand that certain mutual funds reserve the right to change their purchasing,
    switching or redemption procedures or suspend or postpone redemptions under certain market
    conditions. I further understand that any mutual fund order entered with Robinhood is placed by
    Robinhood on a best efforts basis as prescribed and recognized by the individual fund, and that
    Robinhood is not responsible for unexecuted orders due to the failure of any communication system. I
    agree to be fully responsible for the information contained within the mutual fund prospectus and to hold
    Robinhood, its Affiliates, and Robinhood and its Affiliates' respective officers and employees harmless


                                                           12                                                 2020.12
Case 1:21-md-02989-CMA Document 409-1 Entered on FLSD Docket 09/21/2021 Page 14 of
                                      34


    for any deficiencies contained therein. I authorize Robinhood to act as My agent in the purchase and
    redemption of fund shares.

    19. Exchange Traded Funds.
    I understand that I should consider the investment objectives and unique risk profile of Exchange Traded
    Funds ("ETFs") carefully before investing, and that ETFs are subject to risks similar to those of other
    diversified portfolios. I further understand that leveraged and inverse ETFs may not be suitable for all
    investors and may increase exposure to volatility through the use of leverage, short sales of securities,
    derivatives, and other complex investment strategies, and that although ETFs are designed to provide
    investment results that generally correspond to the performance of their respective underlying indices,
    they may not be able to exactly replicate the performance of the indices because of expenses and other
    factors. I further understand that ETFs are required to distribute portfolio gains to shareholders at year
    end, which may be generated by portfolio rebalancing or the need to meet diversification requirements,
    and that ETF trading will also generate tax consequences. I understand that I can obtain prospectuses
    from issuers or their third party agents who distribute and make prospectuses available for review.
    Additional regulatory guidance on ETFs can be found here.

    20. Effect of Attachment or Sequestration of Accounts.
    Robinhood shall not be liable for refusing to obey any orders given by or for Me with respect to any of
    My Accounts that has or have been subject to an attachment or sequestration in any legal proceeding
    against Me, and Robinhood shall be under no obligation to contest the validity of any such attachment or
    sequestration.

    21. Event of Death.
    It is agreed that in the event of My death, the representative of My estate or the survivor or survivors
    shall immediately give Robinhood written notice thereof, and Robinhood may, before or after receiving
    such notice, take such proceedings, require such papers and inheritance or estate tax waivers, retain
    such portion of, or restrict transactions in the Account as Robinhood may deem advisable to protect
    Robinhood against any tax, liability, penalty or loss under any present or future laws or otherwise.
    Notwithstanding the above, in the event of My death, all open orders shall be canceled, but Robinhood
    shall not be responsible for any action taken on such orders prior to the actual receipt of notice of death.
    Further, Robinhood may in Its discretion close out any or all of the Accounts without awaiting the
    appointment of a personal representative for My estate and without demand upon or notice to any such
    personal representative. The estate of any of the Account holders who have died shall be liable and each
    survivor shall continue to be liable, jointly and severally, to Robinhood for any net debit balance or loss in
    said account in any way resulting from the completion of transactions initiated prior to the receipt by
    Robinhood of the written notice of the death of the decedent or incurred in the liquidation of the Account
    or the adjustment of the interests of the respective parties, and for all other obligations pursuant to this
    Agreement. Such notice shall not affect Robinhood's rights under this Agreement to take any action that
    Robinhood could have taken if I had not died.

    22. Tax Reporting; Tax Withholding.
    The proceeds of sale transactions and dividends paid will be reported to the Internal Revenue Service
    ("IRS") in accordance with applicable law.


    A. U.S. Persons.

    This subsection is applicable if I am a U.S. person. Under penalties of perjury, I certify that the taxpayer
    identification number that I have provided or will provide to Robinhood (including any taxpayer
    identification number on any Form W-9 that I have provided or will provide to Robinhood) is My correct
    taxpayer identification number. I certify that I am not subject to backup withholding and I am a United
    States Person (including a U.S. resident alien) as such term is defined in section 7701(a)(30) of the
    Internal Revenue Code of 1986, as amended ("U.S. Person"). If a correct Taxpayer Identification
    Number is not provided Robinhood Financial, I understand I may be subject to backup withholding tax at
    the appropriate rate on all dividends, interest and gross proceeds paid to me. Backup withholding taxes


                                                         13                                                2020.12
Case 1:21-md-02989-CMA Document 409-1 Entered on FLSD Docket 09/21/2021 Page 15 of
                                      34

      are sent to the IRS and cannot be refunded by Robinhood Financial. I further understand that if I waive
       tax withholding and fail to pay sufﬁcient estimated taxes to the IRS, I may be subject to tax penalties.


      B. Non-U.S. Persons.

       This subsection is applicable if I am not a U.S. Person. I certify that I fully understand all the information
on any Form W-8BEN that I have submitted or will submit to Robinhood. Under penalties of perjury, I
declare that (i) I have examined all the information (including all the information in the English language)
on any Form W-8BEN that I have submitted or will submit to Robinhood and (ii) to the best of My
knowledge and belief all such information is true, correct, and complete. I authorize Robinhood to
provide any such Form W-8BEN to Robinhood Securities or any withholding agent that has control,
       receipt, or custody of the income of which I am the beneﬁcial owner or any withholding agent that can
disburse or make payments of the income of which I am the beneﬁcial owner. I agree that I will submit a
new Form W-8BEN to Robinhood within 30 calendar days if any certiﬁcation made on any previously submitted Form
W-8BEN becomes incorrect. I understand that the IRS does not require My consent to
       any provisions of such Form W-8BEN other than the certiﬁcations required to establish My status as a
non-U.S. Person and, if applicable, obtain a reduced rate of withholding.

      23. Equity Orders and Payment For Order Flow.
    SEC rules require all registered broker-dealers to disclose their policies regarding any "payment for order
     ﬂow" arrangement in connection with the routing of customer orders. "Payment for order ﬂow" includes,
among other things, any monetary payment, service, property, or other beneﬁt that results in
remuneration, compensation, or consideration to a broker-dealer from any broker-dealer in return for

      directing orders. I understand that Robinhood transmits customer orders for execution to various
      exchanges or market centers based on a number of factors. These include: size of order, trading
      characteristics of the security, favorable execution prices (including the opportunity for price
      improvement), access to reliable market data, availability of efficient automated transaction processing
      and reduced execution costs through price concessions from the market centers. I further understand
      that certain of the exchanges or market centers may execute orders at prices superior to the publicly
      quoted market in accordance with their rules or practices and that while a customer may specify that an
      order be directed to a particular market center for execution, the order-routing policies, taking into
      consideration all of the factors listed above, are designed to result in favorable transaction processing for
      customers. The nature and source of any payments or credits received by Robinhood in connection with
      any specific transactions will be furnished upon written request.

      24. Free Credit Balances and Sweep Service.
      If I enroll in Robinhood Financial Cash Management ("Cash Management"), I understand that I am
      electing to participate in the Insured Network Deposit ("IND") sweep service (the "Sweep Service").
      Under the Sweep Service, free credit balances in My Account will be deposited into interest-bearing
      accounts at one or more banks ("Participating Depository Institutions"), in accordance with the Insured
      Network Deposit Sweep Program Disclosures ("IND Disclosures") available on the Website and in the
      App. By enrolling in Cash Management, I represent and warrant that I have reviewed the IND
      Disclosures and agree to the terms set forth in the IND Disclosures. If I am not enrolled in Cash
      Management, free credit balances in My Account will remain in My Account, will not earn interest and
      will not be eligible for FDIC insurance, but will be eligible for SIPC protection as described in the IND
      Disclosures.

      25. Fees and Charges.
      I understand that Robinhood does not charge fees or commissions for executing buy and sell orders.
      However, I understand that other fees may apply. The current fees are included in the fee schedule
      available in the App and on the Website. I agree to pay any such fees at the then-prevailing rate. I
      acknowledge that the prevailing fees may change and that change may occur without notice. I agree to
      be bound by such changes once they are posted in the fee schedule available in the App and on the
      Website. I also agree to pay all applicable federal, state, local, and foreign taxes. I authorize Robinhood
      Financial to automatically debit My Account for any such fees and taxes. I also agree to pay such
      expenses incurred by Robinhood in connection with collection of any unpaid balance due on My
      Accounts including attorney's fees allowed by law.


                                                           14                                               2020.12
Case 1:21-md-02989-CMA Document 409-1 Entered on FLSD Docket 09/21/2021 Page 16 of
                                      34


    26. ACH Transactions.

    A. Debit Transactions.

    Robinhood will initiate an ACH debit at My request to debit funds from an account that I own at another
    financial institution ("External Account") for deposit into My Account. I understand that in order for
    Robinhood to initiate an ACH debit, the financial institution holding my External Account must participate
    in the ACH system. I understand that for the ACH transfers to be established, at least one common
    name must match exactly between My Account and My External Account. I authorize Robinhood to take
    such steps as it deems appropriate to verify my ownership of External Account, including by telling the
    bank at which such External Account is held that I have authorized and consented to such bank
    disclosing to Robinhood any information that Robinhood may request about Me or My External Account.
    I also agree to cooperate with Robinhood's verification of my ownership of such External Account by
    promptly providing any identification and/or other documentation that Robinhood may request regarding
    such External Account. I represent and warrant that there are sufficient funds in My External Account to
    cover the amount of the deposit to My Account. Robinhood will initiate the ACH debit to My External
    Account on the Business Day or next Business Day after I request the transfer. A transfer request will be
    deemed to have been made on a Business Day if it is received by Robinhood by 7:00 p.m. (Eastern
    Time) on such Business Day; if received after that time, the transfer request will be deemed to have
    been made on the next Business Day.
    Within 60 days of the date of My ACH deposit, My funds may only be withdrawn to the External Account
    from which such funds were debited.
    I understand that an ACH debit transfer may be reversed or rejected if: (A) there are insufficient funds in
    My External Account; (B) there is a duplicate transaction; (C) the transaction is denied by the bank
    holding My External Account; or (D) My External Account does not support ACH transfers. I
    acknowledge that in the event of an ACH reversal, I will incur a fee. Before initiating making an ACH
    debit transfer, I agree to check Robinhood Financial's most recent Commissions and Fees Schedule. I
    agree that I am solely liable and responsible for any ACH reversal fees that I incur.


    B. Credit Transactions.

    Robinhood will initiate an ACH credit at My request to transfer funds from My Account to a recipient that
    I designate. I agree that I will have sufficient Available Funds in My Account to cover the amount of any
    ACH credit that I ask Robinhood to initiate. Robinhood will debit the amount of such request from My
    Account on the Business Day or next Business Day after I request the transfer. A transfer request will be
    deemed to have been made on a Business Day if it is received by Robinhood on such Business Day; if
    received after that time, the transfer request will be deemed to have been made on the next Business
    Day.
    I agree that Robinhood may use any means which Robinhood, in its sole discretion, considers suitable
    to execute my ACH credit transfers.

    27. Fractional Shares.
    I acknowledge and understand that Robinhood rounds all holdings of fractional shares to the sixth
    decimal place, the value of fractional shares to the nearest cent, and any dividends paid on fractional
    shares to the nearest cent. I further understand that Robinhood will not accept dollar-based purchases or
    sales of less than $1.00 and that I will receive proceeds from the sale of any whole or fractional shares
    rounded to the nearest cent.

    I understand that if I enter repeated fractional orders with individual notional values of less than $0.01,
    my account may be restricted.
    I understand that a vendor employed by Robinhood will aggregate any proxy votes for fractional shares
    of Robinhood’s customers with all votes reported to the issuer or issuer’s designated vote tabulator and
    that, while Robinhood’s vendor will report such proxy votes on fractional shares, the issuer or tabulator
    may not fully count such votes.

                                                         15                                                2020.12
Case 1:21-md-02989-CMA Document 409-1 Entered on FLSD Docket 09/21/2021 Page 17 of
                                      34


    I understand that Robinhood will execute all orders that include fractional shares ("Fractional Orders") on
    a principal basis. To the extent that Robinhood must purchase or sell shares in the market to fulfill any
    part of my Fractional Order, the fractional component of that order will be fulfilled at the execution price
    Robinhood received for the corresponding whole shares. To the extent that Robinhood fulfills my
    Fractional Order for national exchange-listed securities ("NMS Securities") entirely out of its inventory
    and without purchasing or selling shares in the market ("Inventory Fulfillment"), Robinhood will endeavor
    to price such shares or fractional shares at a price between the National Best Bid and Offer (“NBBO”) at
    the time of the order for orders made during market hours, or, for such orders made during extended
    hours trading (9:00-9:30 a.m. and 4:00-6:00 p.m. Eastern), Robinhood will endeavor to price such orders
    between the best bid and offer at the time of the order, as reported by an external vendor ("Vendor
    BBO"). For Inventory Fulfillment of Fractional Orders for securities not listed on a national exchange
    ("Non-NMS Securities") made during market hours as well as extended hours trading, Robinhood will
    endeavor to price such orders between Vendor BBO.
    All non-market orders placed outside market hours and extended hours trading are queued and fulfilled
    either at or near the beginning of extended hours trading (9:00 a.m. Eastern) or at or near market open
    (9:30 a.m. Eastern), according to my instructions. All market orders placed outside market hours and
    extended hours trading are queued and fulfilled at or near market open. To the extent that I trade outside
    of market hours, these trades are subject to Robinhood’s Extended Hours Trading Disclosure.
    I understand Robinhood only accepts market orders for fractional shares at this time and does not permit
    limit orders for fractional shares. I understand that fractional shares within My Account (i) are
    unrecognized, unmarketable, and illiquid outside the Robinhood platform, (ii) are not transferrable in-kind,
    and (iii) may only be liquidated and the proceeds transferred out via a wire transfer. I acknowledge that,
    subject to applicable requirements, Robinhood may report holdings and transactions in My Account in
    terms of either U.S. Dollars, shares, or both.
    I agree that my fractional share holdings shall be treated as a "financial asset" under Article 8 of the
    Uniform Commercial Code.

    28. Phone Calls.
    You agree that, by providing information Robinhood requests, Robinhood and its third party services
    providers may contact you via mail, phone or email.
    Specifically, if you provide us with a phone number: (a) you represent and warrant that the number you
    provide is your phone number, and you will promptly notify us if that changes, and (b) you consent to
    receive calls (including text messages) made to that phone number that may be prerecroded and/or
    completed with an automatic telephone dialing system (automated calls) for purposes including but not
    limited to providing account-related communications (including security alerts), investigating or
    preventing fraud, and/or collecting amounts owed to Robinhood. We may share your number with third
    parties that provide services to us in connection with any of the foregoing purposes, including but not
    limited to debt collectors. You understand that message, telephone minute and data rates may apply for
    calls made to a mobile phone number. You may opt out at any time from receiving these types of calls
    orally or in writing to limitsharing@robinhood.com. Please note, even if you opt out, we may still make
    other calls as permitted by law.
    You consent to our recording of phone calls, including calls we make to you or that we receive from you.

    29. Dividend Reinvestment Program.
    Except as expressly stated otherwise, the provisions of this Section 29 will only apply if I am enrolled in
    Robinhood’s Dividend Reinvestment Program (“DRIP”). My enrollment in the DRIP will be activated
    within three business days after I notify Robinhood of my intention to enroll an eligible security through
    the App. “Eligible security” means all shares available for fractional investing through Robinhood. I
    understand that in order to be eligible for dividend reinvestment, the securities must be held in My
    Account.

    I may specify individual securities or have all Eligible securities in My Account enrolled for dividend
    reinvestment. If I choose to reinvest dividends from all Eligible securities, I understand that individual
    securities could subsequently no longer be Eligible securities at Robinhood’s discretion or under
    applicable law. In those cases, only those securities will be discontinued from the DRIP. If I specify
    individual securities, I may add additional Eligible securities to the DRIP at any time if I hold a position

                                                         16                                                2020.12
Case 1:21-md-02989-CMA Document 409-1 Entered on FLSD Docket 09/21/2021 Page 18 of
                                      34


    in those securities. Enrollment with respect to these additional Eligible securities will be effective within
    three business days after Robinhood receives notification from me through the App. If I maintain open
    orders for securities I do not already hold, I may not enroll those securities for dividend reinvestment
    until my open orders are executed. If my entire Account is set up for dividend reinvestment, any eligible
    securities I purchase in the future will automatically participate in the DRIP.
    All eligible cash distributions will be reinvested on all securities I have selected in the DRIP, provided
    that I owned the securities on the record date for determining shareholders eligible to receive dividends,
    and continue to hold the securities through payable date. “Eligible cash distributions” means most cash
    distributions, including regular and optional dividends, cash-in-lieu payments, and capital gains
    distributions. Special dividends, late ex-date, liquidation, and miscellaneous payments may not be
    eligible distributions. Optional dividends will be processed in accordance with dividend reinvestment
    instructions. If I have a margin account, Robinhood is permitted to borrow a dividend paying stock in the
    normal course of business and, as a result, in such situations instead of a dividend payment I may
    receive a cash in lieu payment. If I receive a cash in lieu payment, I authorize Robinhood to treat such
    payment as if it was not “in lieu” and reinvest it accordingly.
    Robinhood will credit My Account upon completion of the dividend reinvestment. Robinhood will reinvest
    dividends on the business day following receipt of funds. In the rare instance in which Robinhood is
    unable to reinvest all dividends on the business day following receipt, it will reinvest the remaining funds
    as soon as reasonably possible thereafter, which may take up to five business days. I will not have use
    of the funds prior to reinvestment.
    I understand that my participation in the DRIP is voluntary and that Robinhood has not made any
    recommendation that I should participate. I further understand that Robinhood is not recommending or
    offering any advice regarding the purchase of any security included as an Eligible security in the DRIP. I
    further understand that dividend reinvestment does not assure profits on my investments, nor does it
    protect against losses in declining markets.

    I may terminate my participation in the DRIP, or the enrollment of individual securities in the DRIP, at
    any time by giving notice through the App. Termination will take effect prior to the next Eligible cash
    distribution provided my notice to terminate was received at least three business days prior to the record
    date of that distribution. I understand that my notice to terminate my participation in the DRIP will not
    affect any obligations that may result from transactions initiated prior to Robinhood’s receipt and
    processing of my notice.
    If I participate in the DRIP, I understand Robinhood will reinvest the dividends of a particular stock at or
    near the opening price on the trading day following receipt of the dividend. Robinhood will combine
    Eligible cash distributions from My Account with those from other Robinhood clients requesting dividend
    reinvestment in the same security and use these combined funds to purchase securities on my behalf
    and on behalf of these other clients. If the combined reinvested funds do not total the purchase price of
    at least one share, the distribution will be invested in fractional shares. On that same day, Robinhood will
    credit My Account with that number of shares, including fractional shares, equal to my Eligible cash
    distribution divided by the purchase price per share. Robinhood does not intend to charge a fee for
    transactions executed pursuant to the DRIP.
    Dividend reinvestment may result in my owning interests in fractional shares of a security. I will be
    entitled to receive future dividend payments on my fractional shares, although other corporate actions
    may result in allocation of only whole shares and cash in lieu of fractions as determined by the issuer. In
    mandatory corporate reorganizations, my partial interest will be handled according to the specific terms
    of the reorganization. In voluntary corporate reorganizations, Robinhood will act on my instructions with
    respect only to my whole shares.
    Because fractional share positions cannot be transferred, reorganized, or issued in certificate form, my
    partial interest will be liquidated, without commission charges to me, at prevailing market prices in the
    event My Account is transferred or closed, the stock is reorganized, or stock certificates are ordered out
    of My Account. The timing of such liquidations will be at the discretion of Robinhood.
    Reinvestment of dividends may result in my owning a fractional share position in securities that are
    callable in part. In the event of a call, fractional shares to be called will be determined through a random
    selection process. The probability of my fractional share holdings being called will be proportional to the
    holdings of all Robinhood clients who own a fractional share position in that security. Prior to the
    publication date of such a call, I have the right to withdraw from My Account cash in lieu of my uncalled,
    fully paid partial holdings. Once a call is announced, however, all shares, whether registered or held in


                                                         17                                                2020.12
Case 1:21-md-02989-CMA Document 409-1 Entered on FLSD Docket 09/21/2021 Page 19 of
                                      34


    street name, participate in the random selection process. If my fractional shares are selected and I no
    longer hold the shares that I held on the publication date of the call, I will be responsible for covering
    those shares.

    30. Cash Management Services.
    Except as expressly stated otherwise, the provisions of this Section 30 will only apply if I am enrolled in
    Cash Management.


    A. General.

    I understand and agree that by enrolling in Cash Management, I may apply for a Robinhood-branded
    debit card issued by the bank identiﬁed in My Robinhood Debit Card Agreement ("Card"). I further
    understand and agree that by using My Card, exercising My electronic fund transfer ("EFT") privileges
    offered in connection with My Account, and/or by successfully completing a request using Pay by
    Check, I authorize Robinhood to debit My Account immediately whenever an electronic draft or Card
    transaction is presented for payment on My behalf, when an EFT transaction is effected, when a Pay by
    Check request is successfully completed on My Account and/or when any fee or charge is due
    (collectively "Payment" or “Payments”). I further understand and agree that when I request a Payment or
    withdrawal or instruct Robinhood to make a purchase of securities from My Account, Robinhood is
    authorized to place a block on the amount of the transaction ("Blocked Amounts") prior to the settlement
    date of the Payment, withdrawal or trade, and that the Blocked Amounts will not be available for use for
    additional Payments or the purchase of securities. I agree to maintain Available Funds sufﬁcient to pay
    for Payments made by Me or any Authorized Card User (as deﬁned below) and to pay for any securities
    trades and for interest on any margin loans and other transaction fees. For this purpose, "Available
    Funds" in My Account will ﬂuctuate daily and means the sum of (i) free credit balances, (ii) deposits to
    Participating Depository Institutions through the Sweep Service, and (iii) available margin loan value if
    My Account has margin privileges, minus (x) uncleared funds, (y) Blocked Amounts, and (z) deposits
    subject to a hold. The loan value of eligible securities for the purpose of margin is subject to regulatory
    requirements and Robinhood credit policies then in effect.


    B. Payments and Withdrawals.

    I agree that any Payments that I make from My Account will be lawful. I agree that Payments will be
    deducted from the Available Funds in My Account in the following order: ﬁrst, from free credit balances;
    second, by withdrawal of funds deposited to Participating Depository Institutions as part of the Sweep
    Service; and third, if My Account has margin privileges, from margin loans on the eligible securities in
    My margin Account. Robinhood will debit My Account only up to an amount equal to the Available Funds.
    I understand and agree that (i) if there are insufﬁcient Available Funds in My Account to cover Payments
    when they become due, Robinhood has no obligation to make such Payments, and (ii) Robinhood has
    no obligation to make partial Payments. Robinhood will not charge a fee with respect to any declined
    Payment for which there were insufﬁcient Available Funds. I acknowledge and agree, however, that
    Robinhood will not be responsible for any costs or losses that I may incur (including fees, costs,
    charges, attorneys' fees, investment losses, claims, demands, or liability resulting from any litigation or
    other actions) as a result of Robinhood's decision to decline any Payment or withdrawal or other
    transaction because My Account has insufﬁcient Available Funds.
    I understand that if a Payment is funded by a margin loan, I will incur interest until the margin loan is
    repaid.
    I agree that if my Available Funds at any time falls below zero, Robinhood may suspend my ability to
    make Payments and terminate My Card. If this occurs, I agree to immediately pay all amounts owed to
    Robinhood, including any purchases on My Card which will be immediately charged to My Account.
    I acknowledge and agree that Robinhood reserves the right to decline any Payments at any time for any
    reason with or without notice to Me. If Robinhood decides to take such action, I understand and agree
    that I am responsible for any pending debits, which will be processed and deducted from My Account.




                                                         18                                               2020.12
Case 1:21-md-02989-CMA Document 409-1 Entered on FLSD Docket 09/21/2021 Page 20 of
                                      34


    I understand that transactions will post to My Account in any order determined by Robinhood and that
    Robinhood may change that order without prior notice to Me. Robinhood will comply with requirements of
    applicable law regarding the order of posting transactions.


    C. Limitation of Liability.

    I agree that, subject to any limitations imposed by applicable law, and except as otherwise set forth in
    this Agreement or in the disclosures contained in the Robinhood Debit Card Agreement, which has been
    provided to Me or made available to me in connection with the opening of My Account, Robinhood,
    Robinhood’s agents, any processing bank, and the Card issuer will not be liable for any loss I incur in
    connection with My Account and any Payments or other features of My Account unless Robinhood is
    grossly negligent in fulﬁlling this Agreement. In no event will Robinhood, Robinhood’s agents, any
    processing bank, and the Card issuer shall not be liable for consequential, special or indirect damages or
    losses unless applicable law requires otherwise. I also agree that liability regarding online services or
    use of the App is further limited by the Robinhood Terms and Conditions, available at https://
    about.robinhood.com/legal/. To the extent I utilize online services or the App I acknowledge that I am
    bound by such Robinhood Terms and Conditions.


    D. Debit Cards.

    I understand and agree that My use of the Card is subject to the terms, conditions and disclosures set
    forth in the Robinhood Debit Card Agreement, which has been provided to Me in connection with the
    opening of My Account and which I may access on the Website.

    I understand and agree that I cannot request a Card for another person to use. I agree, however, that if I
    permit another person to have access to use My Card or Card number (an "Authorized Card User"), I am
    authorizing all Card transactions by such person and I agree that there are no limits to my authorization.
    I accept all liability with respect to the Card transactions effected by Me and any Authorized Card Users.
    I further agree that I may terminate the authority of an Authorized Card User only by contacting
    help@robinhood.com, to cancel my Card. I agree that the cancellation of My Card is effective only after
    Robinhood has a reasonable period to act on My notice.
    If My Card is cancelled, I agree to destroy, or if requested by Robinhood, return the Card to Robinhood. I
    acknowledge that I will be responsible for any Card transactions that are processed because of My
    failure to destroy or return the Card following cancellation.
    If My Account includes margin privileges, I agree that transactions that exceed My free credit balances
    and deposits in the Sweep Service may result in margin credit being extended to My Account, for which
    I will be charged interest. I agree to review the Margin Disclosure Statement, which is available at
    https://about.robinhood.com/legal/.


    E. Deposits.

    The provisions in this Section 30.E shall apply to My Account whether or not I am enrolled in Cash
    Management.
    General; Holds. I acknowledge and agree that funds that I deposit to My Account may be subject to one
    or more hold periods, which are described in the RHF Funds Availability schedule available at https://
    about.robinhood.com/legal/. I understand and agree that Robinhood reserves the right to modify the RHF
    Funds Availability schedule at any time by posting an updated schedule at https://about.robinhood.com/
    legal/, or otherwise providing notice to me. During the applicable hold period, My funds will not be
    available for Payments, withdrawal, or the settling of securities transactions, in each case as described
    in the RHF Funds Availability schedule. I further understand and agree that Robinhood reserves the right
    to further delay making deposited funds available for periods longer than the hold periods specified in the
    RHF Funds Availability schedule to the extent Robinhood determines that additional time is needed to
    verify information about the item deposited or the sender or if Robinhood otherwise believes there is a
    risk of fraud or other unlawful activity with respect to My Account.


                                                        19                                              2020.12
Case 1:21-md-02989-CMA Document 409-1 Entered on FLSD Docket 09/21/2021 Page 21 of
                                      34


    Mistaken Deposits. If funds are deposited or transferred into My Account by mistake or otherwise, I
    agree that Robinhood may correct the situation and deduct any interest paid by Participating Depository
    Institutions, if applicable, without prior notice to Me.
    Returned Funds. I acknowledge and agree that I am responsible for returned transactions. If I have
    funds transferred into My Account and that transfer is returned for any reason, Robinhood may charge
    the transfer and interest paid by Participating Depository Institutions, if applicable, against My Account,
    without prior notice to Me.


    F. Electronic Fund Transfers.

    The provisions in this Section 30.F relating to EFTs other than Card transactions shall apply to My
    Account whether or not I am enrolled in Cash Management.
    I understand that My Account may be eligible for a variety of EFTs, which may be subject to separate
    agreements, terms and conditions. These services may include use of the Card, and the "Move Money"
    functionality of the App. I understand that I may be required to agree to separate terms and conditions
    governing the particular service I use to initiate EFTs. In addition, I understand and agree that my use of
    EFT services are subject to the disclosures set forth in Appendix A (Electronic Fund Transfer
    Disclosures), and acknowledge that I have received and reviewed such disclosures.


    G. Security.

    I agree to protect My Card, and My PINs, from access by anyone not authorized by Me to use them. I
    acknowledge that I will be liable for all Card and online transactions conducted by anyone to whom I
    have given access or who has obtained access even if not authorized by Me, up to applicable legal
    limits. I understand that I am responsible for reviewing My Account statement promptly to discover and
    report unauthorized activity, including use of My Card, Card number or PIN. I agree to notify Robinhood
    as provided in Appendix A (Electronic Fund Transfer Disclosures) if I believe or have reason to believe
    that there has been unauthorized activity in My Account or that My Card, Card number or PIN has been
    lost, stolen or may be used by an unauthorized person. Unless limited by law or as otherwise set forth in
    this Agreement or in the disclosures contained in Robinhood Debit Card Agreement, which is provided to
    Me as part of the Account opening process and is available on the Website, I agree that I will be
    responsible for losses that arise from My failure to (i) safeguard My Card and PINs, (ii) review My
    monthly statement for possible unauthorized activity and (iii) report any unauthorized activity to
    Robinhood as provided herein or in the Robinhood Debit Card Agreement.


    H. No Illegal Purpose.

    I agree and understand that I may not use my debit card or any Payments on My Account for any illegal
    purpose. I agree and understand that Robinhood may, in its discretion, deny any transactions that appear
    to be made for an illegal purpose.


    I. Pay by Check.

    I agree and understand that if I try to stop payment on a check after it has been mailed to the payee,
    Robinhood will attempt to but cannot guarantee that payment on the check will be stopped. I understand
    that a stop payment order on a check is valid for six months. I understand that if I wish to renew a stop
    payment on a check after the six month period, I must contact Robinhood to request another stop
    payment. I agree and understand that I may still be liable to the holder of the check even if I have
    requested a stop payment for the amount of the check. I agree and understand that Robinhood may
    deduct My Account for the amount on the check if the stop payment request is unsuccessful.




                                                         20                                               2020.12
Case 1:21-md-02989-CMA Document 409-1 Entered on FLSD Docket 09/21/2021 Page 22 of
                                      34


    J. Disclosure of Information.

    I agree and understand that all disclosures of My non-public personal information shall be made in
    accordance with the terms of the this Agreement or the Robinhood Privacy Policy (available on the
    Website at https://about.robinhood.com/legal/, as applicable. I agree that My consent to sharing non-
    public personal information will remain in effect until I revoke such consent by updating My settings and
    visibility, which I may do at any time through the App.
    In addition, I understand and agree that Robinhood may disclose information about My Account and My
    related activities to third parties under the following circumstances: - As necessary to complete My
    Payment transactions; - To investigate any complaint, disputed transaction, transaction inquiry or
    request I make or as necessary to investigate potential fraud or misuse related to My Account; - To
    respond to requests from credit bureaus, creditors or other third parties for account-related information, to
    the extent such inquiries are necessary for processing My transactions or are usual and customary in
    the course of servicing similar products or accounts; - As necessary to comply with any applicable law,
    government or court order or subpoena; or - In accordance with My written permission or as otherwise
    permitted under the Robinhood Privacy Policy.


    I. Termination.

    I understand that Robinhood may terminate my participation in Cash Management or in specific features
    of Cash Management for any reason, upon notice to me.

    31. Consent to Redeem Shares.
    I understand and agree that whenever it is necessary for Robinhood's protection or to satisfy a margin
    call, deficiency, debit or other obligation owed to Robinhood, Robinhood may (but is not required to) sell,
    assign and deliver all or any part of the securities in My Account, or close any or all transactions in My
    Account. I understand that Robinhood may, but is not obligated to, attempt to contact Me before taking
    any such action. I understand and agree that Robinhood reserves the right to take any such action
    without prior notice or demand for additional collateral, and free of any right of redemption, and that any
    prior demand, call or notice will not be considered a waiver of our right to sell or buy without demand,
    call or notice.
    I further understand that Robinhood may choose which securities to buy or sell, which transactions to
    close, and the sequence and timing of liquidation, and may take such actions on whatever exchange or
    market and in whatever manner (including public auction or private sale) that Robinhood chooses in the
    exercise of its business judgment. I agree not to hold Robinhood liable for the choice of which securities
    to buy or sell or of which transactions to close or for the timing or manner of the liquidation. I also agree
    not to hold Robinhood liable for taking such action.

    I understand and agree that Robinhood is entitled to exercise the rights described in this section in its
    sole discretion, including, but not limited to, whenever any of the following occurs:
         •   The equity level in My Account falls below required minimums;
         •   Sufficient funds or securities are not deposited to pay for transactions in My Account;
         •   I reverse any ACH debit transfer to My Account;
         •   A petition of bankruptcy or for the appointment of a receiver is filed by or against Me;
         •   An attachment is levied against My Account;
         •   I die or become incapacitated or incompetent; or
         •   My Account is closed.

    32. Electronic Delivery of Trade and Account Information; Notice.
    All communications, notices, legal disclosures, and other materials related to My Account or this
    Agreement, including account statements, trade confirmations, margin calls, notices, disclosures,
    regulatory communications and other information, documents, data and records regarding My Account
    (the "Communications"), or an alert that any such Communication has been posted to the secure section
    of the Website or the App, and is available for viewing, may be sent to Me at the mailing address for My
    Account or the e-mail address that I have given to Robinhood in My account application or at such other

                                                          21                                              2020.12
Case 1:21-md-02989-CMA Document 409-1 Entered on FLSD Docket 09/21/2021 Page 23 of
                                      34


    address as I may hereafter give Robinhood in writing or by e-mail at least ten (10) calendar days prior to
    delivery, and all communications so sent, whether in writing or otherwise, shall be deemed given to Me
    personally, whether actually received or not.

    33. API.

    A. Overview; Definitions.

    Robinhood may, in Robinhood's sole discretion, provide third parties with an application programming
    interface and other materials in accordance with any accompanying documentation (collectively, the "API
    Package") (such third parties, "API Licensees"), to make available certain features and functionality of
    Robinhood's mobile applications, websites, or technology platform via the API Licensees' products (such
    products, the "Licensee Products"). The API Package and the Licensee Products are collectively
    referred to as the "API Products". "Personal Information" means My personally identifiable information
    (including username, logon password, financial information, trade data, and other financial information)
    and all data exchanged between Robinhood and the API Products.


    B. Access to My Personal Information.

    Through My use of any API Products, I may be providing API Licensees with access to My Account and
    Personal Information. By using any API Products, I acknowledge that such API Products may employ
    security, policies, procedures and systems of API Licensees which may or may not be less stringent and
    secure than Robinhood's policies, procedures and systems. I agree that My use of any API Products
    shall be subject to the terms and conditions of this Agreement, in addition to any other agreements
    which I executed with respect to any such API Products. I understand and agree that any end user
    agreement that I executed with any API Licensee is concluded between Me and such API Licensee only,
    and not with Robinhood; and such API Licensee, not Robinhood, is solely responsible for such Licensee
    Product and the content thereof. I understand and agree that the API Products may deliver Personal
    Information to Robinhood, and that Robinhood is authorized to receive and store such Personal
    Information consistent with Robinhood's then-in-effect policies and procedures. Further, I agree that the
    API Products may request Personal Information stored by Robinhood, and I consent to Robinhood's
    disclosure of such Personal Information to the API Products.


    C. No Recommendations.

    To the extent the Licensee Products or API Licensees express opinions or make recommendations, I
    understand that such opinions and recommendations are expressed solely by API Licensees and are not
    the opinions or recommendations of Robinhood. The existence of the API Products and Robinhood's
    consent to any connectivity between any Licensee Products and Robinhood's technology, the App, the
    Website, or trading platform(s) does not constitute (i) any recommendation by Robinhood to invest in any
    security or utilize any investment strategy; or (ii) any representation, warranty, or other guarantee by
    Robinhood as to the present or future value or suitability of any sale, trade, or other transaction involving
    any particular security or any other investments. The existence of any and all information, tools and
    services provided by API Licensees or by the Licensee Products shall not constitute Robinhood's
    endorsement of API Licensees or the Licensee Products.


    D. Data Provided by Robinhood to API.

    From time to time, and subject to then-in-effect agreements between Robinhood and API Licensees,
    Robinhood may, in its own discretion, make market data feeds received from third parties available via
    the API Products. Robinhood does not make any guarantees in regard to such market data feeds.
    Furthermore, API Licensees or Licensee Products may make available to Me market data feeds
    independent of Robinhood. I am aware that from time to time that there may be discrepancy between the
    market data presented on the App or Website and information provided by any API Products due to a
    variety of reasons, including the time to update and transmit such data to a mobile application or website

                                                         22                                               2020.12
Case 1:21-md-02989-CMA Document 409-1 Entered on FLSD Docket 09/21/2021 Page 24 of
                                      34


    and latency caused by such API Product's or My local environment (such as computer set up,
    connection speed, etc.). Robinhood is not responsible for the accuracy of any market data displayed on
    any API Products or otherwise made available by API Licensees.


    E. Risks; No Liability.

    I acknowledge that there may be latency between the time an order (or other Personal Information) is
    submitted from the API Products and the time such order or Personal Information is received by
    Robinhood. Latency may also affect order modification and order cancellation requests. The time an
    order or a request is actually received by Robinhood (including for execution) will be the official time,
    including for the purposes of routing the order to the market for execution. In addition, all orders
    submitted to Robinhood are subject to order vetting by Robinhood. Orders created and submitted through
    any API Products are not vetted until they are received by Robinhood. It is possible that Robinhood may
    reject an order placed through any API Products. Robinhood cannot guarantee that any order will be
    accepted when such order is routed to the market for execution, and Robinhood cannot guarantee that
    notifications and Personal Information provided to Me by Robinhood will be successfully delivered to or
    displayed by any API Products.
    Without limiting the generality of any other terms in this Agreement, I agree that:

        1. Robinhood or its Affiliates shall not be liable for any Losses as a result of any issues addressed
           in this Section 33 of this Agreement, nor shall Robinhood or its Affiliates be liable for any Losses
           realized for technical issues involving any API Products or API Licensee technology or product
           offerings (including system outages or downtime).

        2. Robinhood or its Affiliates shall not be responsible for any investment research provided by any
           API Licensee or any Licensee Products.

        3. Robinhood or its Affiliates makes no representations, warranties or other guarantees as to the
           accuracy, timeliness or efficacy of any market data, information, or other functionality made
           available by any API Licensee or any API Products.


    F. Intellectual Property.

    My use of any API Products will not confer to Me any title, ownership interest or intellectual property
    rights that otherwise belongs to Robinhood or any of its affiliates. The API Package, including content, is
    protected under U.S. patent, copyright laws, international treaties or conventions, and other laws and will
    remain Robinhood's exclusive property, as applicable. Names, logos, and all related product and service
    names, design marks, and slogans displayed by or relating to Robinhood or any of its Affiliates or API
    Licensees in the context of the API Products shall remain the property of the respective owner, and use
    of such property by Robinhood or any API Licensee in marketing or provision of any API Products does
    not grant ownership of or entitle Me to use any such name or mark in any manner.


    G. User's Representations and Warranties.

    I represent and warrant that:

        1. By virtue of utilizing any API Products, I consent to and accept any risk associated with
           Robinhood's sharing of Personal Information with any API Licensee and shall not hold Robinhood,
           its Affiliates, or their respective officers, directors, or employees responsible for any Losses
           resulting from the sharing of such Personal Information.

        2. I agree that My use of any API Products or API Licensee's content, information, technology, or
           functionality is at My own risk.

        3. I agree that Robinhood may revoke any API Licensee or API Products' authorization at any time,
           for any reason, with or without cause and without prior notice to Me.


                                                         23                                              2020.12
Case 1:21-md-02989-CMA Document 409-1 Entered on FLSD Docket 09/21/2021 Page 25 of
                                      34


    34. Electronic Signatures; Modifications to the Agreement.
    I agree to transact business with Robinhood electronically. By electronically signing an application for an
    Account, I acknowledge and agree that such electronic signature is valid evidence of My consent to be
    legally bound by this Agreement and such subsequent terms as may govern the use of Robinhood's
    services. The use of an electronic version of any document fully satisfies any requirement that the
    document be provided to Me in writing. I accept notice by electronic means as reasonable and proper
    notice, for the purpose of any and all laws, rules and regulations. I acknowledge and agree that
    Robinhood Financial may modify this Agreement from time to time and I agree to consult the Website
    from time to time for the most up-to-date Agreement. The electronically stored copy of this Agreement is
    considered to be the true, complete, valid, authentic and enforceable record of the Agreement,
    admissible in judicial or administrative proceedings to the same extent as if the documents and records
    were originally generated and maintained in printed form. I agree to not contest the admissibility or
    enforceability of Robinhood Financial's electronically stored copy of the Agreement.

    35. Margin Accounts.

    A. Election.

    This numbered section applies to my account to the extent I elect and am approved for a Robinhood
    Gold margin account.


    B. Margin Trading.

    I understand that margin trading involves interest charges and risks, including the potential to lose more
    than deposited or the need to deposit additional collateral in a falling market. Before using margin,
    customers must determine whether this type of trading strategy is right for them given their specific
    investment objectives, experience, risk tolerance, and financial situation. If I have elected to have a
    margin Account, I represent that I have read the Margin Disclosure Statement, Day Trading Risk
    Disclosure, and FINRA Investor Information. These disclosures contain information on Robinhood's
    lending policies, interest charges, and the risks associated with margin accounts.


    C. Hypothecation.

    Within the limitations imposed by applicable laws, rules and regulations, all securities now or hereafter
    held by Robinhood, or carried by Robinhood in any account for Me (either individually or jointly with
    others), or deposited to secure same, may from time to time, without any notice, be carried in your
    general loans and may be pledged, repledged, hypothecated or re-hypothecated, separately or in
    common with other securities for the sum due to you thereon or for a greater sum and without retaining
    in your possession or control for delivery a like amount of similar securities. The IRS requires Broker
    Dealers to treat dividend payments on loaned securities positions as payments received in lieu of
    dividends for 1099 tax reporting purposes. Taxation of substitute dividend payments may be greater than
    ordinary on qualified dividends. It is understood, however, that you agree to deliver to Me upon My
    demand and upon payment of the full amount due thereon, all securities in such accounts, but without
    obligation to deliver the same certificates or securities deposited by Me originally. Any securities in My
    margin or short account may be borrowed by you, or lent to others.


    D. Interest.

    Debit balances in My Accounts shall be charged with interest in accordance with your established
    custom, as disclosed to Me in the Customer Information Brochure pursuant to the provisions of the
    Securities Exchange Act.




                                                        24                                              2020.12
Case 1:21-md-02989-CMA Document 409-1 Entered on FLSD Docket 09/21/2021 Page 26 of
                                      34


    E. Margin.

    I agree to maintain in all accounts with Robinhood such positions and margins as required by all
    applicable statutes, rules, regulations, procedures and custom, or as you deem necessary or advisable. I
    agree to promptly satisfy all margin and maintenance calls.


    F. Sales.

    I agree to specifically designate any order to sell a security, which I do not own as a short sale, and
    understands that Robinhood will mark such order as a short sale. I agree that any order which is not
    specifically designated as a short sale is a sale of securities owned by me, and that I will deliver the
    securities on or before settlement date, if not already in the account. If I should fail to make such
    delivery in the time required, Robinhood is authorized to borrow such securities as necessary to make
    delivery for the sale, and I agree to be responsible for any loss you may thereby sustain, or which you
    may sustain as a result of your inability to borrow such securities.

    36. Consent to Electronic Delivery of Documents.

    A. Consent.

    By agreeing to electronic delivery, I am giving My informed consent to electronic delivery of all
    Account Documents, as defined below, other than those I have specifically requested to be
    delivered in paper form. "Account Documents" include notices, disclosures, current and future account
    statements, regulatory communications (such as prospectuses, proxy solicitations, and privacy notices),
    trade confirmations, tax-related documents, and any other information, documents, data, and records
    regarding My Account, this Agreement (including amendments to this Agreement), and the agreements
    and disclosures governing the services delivered or provided to Me by Robinhood Financial, the issuers
    of the securities or other property in which I invest, and any other parties. I agree that I can access,
    view, download, save, and print any Account Documents I receive via electronic delivery for My records.


    B. Electronic Delivery System.

    I acknowledge that Robinhood's primary methods of communication with Me include (A) posting
    information on the Website, (B) providing information via the App, (C) sending email(s) to My email
    address of record, and, to the extent required by law, (D) providing Me with notice(s) that will direct Me
    to the App or the Website where I can read and print such information. Unless otherwise required by law,
    Robinhood reserves the right to post Account Documents on the Website without providing notice to Me.
    Further, Robinhood reserves the right to send Account Documents to My postal or email address of
    record, or via the App or Website. I agree that all Account Documents provided to Me in any of the
    foregoing manner is considered delivered to Me personally when sent or posted by Robinhood, whether I
    receive it or not.
    All e-mail notifications regarding Account Documents will be sent to My e-mail address of record. I agree
    to maintain the e-mail address that I have provided Robinhood until I provide Robinhood with a new one.
    I understand that e-mail messages may fail to transmit promptly or properly, including being delivered to
    SPAM folders. I further understand that it is My sole responsibility to ensure that any emails from
    Robinhood or its Affiliates are not marked as SPAM. Regardless of whether or not I receive an e-mail
    notification, I agree to check the Website regularly to avoid missing any information, including time-
    sensitive or otherwise important communication. If I authorize someone else to access the e-mail
    account I have provided Robinhood, I agree to tell them to share the Account Documents with Me
    promptly, and I accept the risk that they will see My sensitive information. I understand that if I use a
    work e-mail address or computing or communications device, My employer or other employees may
    have access to the Account Documents.
    Additionally, I acknowledge that the Internet is not a secure network and agree that I will not send any
    confidential information, including Account numbers or passwords, in any unencrypted e-mails. I also

                                                        25                                              2020.12
Case 1:21-md-02989-CMA Document 409-1 Entered on FLSD Docket 09/21/2021 Page 27 of
                                      34


    understand that communications transmitted over the Internet may be accessed by unauthorized or
    unintended third parties and agree to hold Robinhood, its Affiliates, and Robinhood and its Affiliates'
    respective officers and employees harmless for any such access regardless of the cause.
    I agree to promptly and carefully review all Account Documents when they are delivered and notify
    Robinhood Financial in writing within five (5) calendar days of delivery if I object to the information
    provided (or other such time specified herein). If I fail to object in writing within such time, Robinhood
    Financial is entitled to treat such information as accurate and conclusive. I will contact Robinhood to
    report any problems with accessing the Account Documents.


    C. Costs.

    Potential costs associated with electronic delivery of Account Documents may include charges from
    Internet access providers and telephone companies, and I agree to bear these costs. Robinhood
    Financial will not charge Me additional online access fees for receiving electronic delivery of Account
    Documents.


    D. Archival.

    Upon My request, I may obtain copies of up to six (6) prior years of account statements, and three (3)
    prior years of trade confirmations.


    E. Revocation of Consent.

    Subject to the terms of this Agreement, I may revoke or restrict My consent to electronic delivery of
    Account Documents at any time by notifying Robinhood Financial in writing of My intention to do so. I
    also understand that I have the right to request paper delivery of any Account Document that the law
    requires Robinhood Financial to provide Me in paper form. Robinhood Financial will not treat My request
    for paper copies as a withdrawal of My consent to electronic delivery of Account Documents. I
    understand that if I revoke or restrict My consent to electronic delivery of Account Documents or request
    paper delivery of same, Robinhood Financial, in its sole discretion, may charge Me a reasonable service
    fee for the delivery of any Account Document that would otherwise be delivered to Me electronically,
    restrict or close My account, or terminate My access to Robinhood Financial's services. I understand
    that neither My revocation or restriction of consent, My request for paper delivery, nor Robinhood
    Financial's delivery of paper copies of Account Documents will affect the legal effectiveness or validity
    of any electronic communication provided while My consent was in effect.


    F. Duration of Consent.

    My consent to receive electronic delivery of Account Documents will be effective immediately and will
    remain in effect unless and until either I or Robinhood Financial revokes it. I understand that it may take
    up to three (3) Business Days to process a revocation of consent to electronic delivery, and that I may
    receive electronic notifications until such consent is processed.


    G. Hardware and Software Requirements.

    I understand that in order to receive electronic deliveries, I must have access to a computer or Mobile
    Device with Internet access, a valid e-mail address, and the ability to download such applications as
    Robinhood Financial may specify and to which I have access. I also understand that if I wish to
    download, print, or save any information I wish to retain, I must have access to a printer or other device
    in order to do so.




                                                         26                                                2020.12
Case 1:21-md-02989-CMA Document 409-1 Entered on FLSD Docket 09/21/2021 Page 28 of
                                      34


    H. Consent and Representations.

    I hereby agree that I have carefully read the above information regarding informed consent to electronic
    delivery and fully understand the implications thereof. Additionally, I hereby agree to all conditions
    outlined above with respect to electronic delivery of any Account Document. I will maintain a valid e-mail
    address and continue to have access to the Internet. If My e-mail address changes, I agree to
    immediately notify Robinhood Financial of My new e-mail address in writing.

    37. Miscellaneous Provisions.
    The following provisions shall also govern this Agreement:


    A. Contact Information.

    Robinhood Customer Service may be contacted by visiting support.robinhood.com or by email at
    help@robinhood.com.


    B. Interpretation.

    The heading of each provision hereof is for descriptive purposes only and shall not be (1) deemed to
    modify or qualify any of the rights or obligations set forth herein or (2) used to construe or interpret any of
    the provisions hereunder. When a reference is made in this Agreement to a Section, such reference shall
    be to a Section of this Agreement unless otherwise indicated. Whenever the words "include," "includes"
    or "including" are used in this Agreement, they shall be deemed to be followed by the words "without
    limitation." The word "or," when used in this Agreement, has the inclusive meaning represented by the
    phrase "and/or." Unless the context of this Agreement otherwise requires: (i) words using the singular or
    plural number also include the plural or singular number, respectively; and (ii) the terms "hereof,"
    "herein," "hereunder" and derivative or similar words refer to this entire Agreement. References to any
    law shall be deemed to refer to such law as amended from time to time and to any rules or regulations
    promulgated thereunder.


    C. Binding Effect; Assignment.

    This Agreement shall bind My heirs, assigns, executors, successors, conservators and administrators. I
    may not assign this Agreement or any rights or obligations under this Agreement without first obtaining
    Robinhood's prior written consent. Robinhood may assign, sell, or transfer My Account and this
    Agreement, or any portion thereof, at any time, without My prior consent.


    D. Severability.

    If any provisions or conditions of this Agreement are or become inconsistent with any present or future
    law, rule, or regulation of any applicable government, regulatory or self-regulatory agency or body, or are
    deemed invalid or unenforceable by any court of competent jurisdiction, such provisions shall be deemed
    rescinded or modified, to the extent permitted by applicable law, to make this Agreement in compliance
    with such law, rule or regulation, or to be valid and enforceable, but in all other respects, this Agreement
    shall continue in full force and effect.


    E. Website Postings.

    I agree and understand that Robinhood Financial may post other specific agreements, disclosures,
    policies, procedures, terms, and conditions that apply to My use of the App, the Website, or My Account


                                                          27                                                2020.12
Case 1:21-md-02989-CMA Document 409-1 Entered on FLSD Docket 09/21/2021 Page 29 of
                                      34


    on the Website ("Website Postings"). I understand that it is My continuing obligation to understand the
    terms of the Website Postings, and I agree to be bound by the Web Postings as are in effect at the time
    of My use.


    F. Entirety of Agreement.

    This Agreement, any attachments hereto, other agreements and policies referred to in this Agreement
    (including the Website Postings), and the terms and conditions contained in My Account statements and
    confirmations, contain the entire agreement between Robinhood and Me and supersede all prior or
    contemporaneous communications and proposals, whether electronic, oral, or written, between
    Robinhood and Me, provided, however, that any and all other agreements between Robinhood and Me,
    not inconsistent with this Agreement, will remain in full force and effect.


    G. Amendment.

    Robinhood may at any time amend this Agreement without prior notice to Me. The current version of the
    Agreement will be posted on the Website and My continued Account activity after such amendment
    constitutes My agreement to be bound by all then-in-effect amendments to the Agreement, regardless of
    whether I have actually reviewed them. Continued use of the App, the Website or any other Robinhood
    Financial services after such posting will constitute My acknowledgment and acceptance of such
    amendment. I agree to regularly consult the Website for up-to-date information about Robinhood
    Financial services and any modifications to this Agreement. Robinhood is not bound by any verbal
    statements that seek to amend the Agreement.


    H. Termination.

    Robinhood may terminate this Agreement, or close, deactivate, or block access to My Account at any
    time in its sole discretion. I will remain liable to Robinhood for all obligations incurred in My Account,
    pursuant to this Agreement, or otherwise, whether arising before or after termination. I may terminate this
    Agreement after paying any obligations owed upon written notice. This Agreement survives termination
    of My Account.


    I. No Waiver; Cumulative Nature of Rights and Remedies.

    I understand that Robinhood's failure to insist at any time upon strict compliance with any term
    contained in this Agreement, or any delay or failure on Robinhood's part to exercise any power or right
    given to Robinhood in this Agreement, or a continued course of such conduct on Robinhood's part, shall
    at no time operate as a waiver of such power or right, nor shall any single or partial exercise preclude
    any other further exercise. All rights and remedies given to Robinhood in this Agreement are cumulative
    and not exclusive of any other rights or remedies to which Robinhood is entitled.


    J. International Customers.

    The products and services described on the Website are offered only in jurisdictions where they may be
    legally offered. Neither the Website nor the App shall be considered a solicitation for or offering of any
    investment product or service to any person in any jurisdiction where such solicitation or offering would
    be illegal. I understand that Robinhood, in its sole discretion, may accept unsolicited accounts from non-
    U.S. residents, depending on the country of residence and other factors. I understand that Robinhood is
    based in the United States and that Robinhood accepts only U.S. currency in Robinhood's customer
    accounts.




                                                        28                                              2020.12
Case 1:21-md-02989-CMA Document 409-1 Entered on FLSD Docket 09/21/2021 Page 30 of
                                      34


    K. Governing Law.

    This Agreement and all transactions made in My Account shall be governed by the laws of the State of
    California (regardless of the choice of law rules thereof), except to the extent governed by the federal
    securities laws, FINRA Rules, and the regulations, customs and usage of the exchanges or market (and
    its clearing house) on which transactions are executed.

    38. Arbitration.
    A. This Agreement contains a pre-dispute arbitration clause. By signing an arbitration agreement,
    the parties agree as follows: (1) All parties to this Agreement are giving up the right to sue each
    other in court, including the right to a trial by jury, except as provided by the rules of the
    arbitration forum in which a claim is filed. (2) Arbitration awards are generally final and binding; a
    party's ability to have a court reverse or modify an arbitration award is very limited. (3) The ability
    of the parties to obtain documents, witness statements and other discovery is generally more
    limited in arbitration than in court proceedings. (4) The arbitrators do not have to explain the
    reason(s) for their award unless, in an eligible case, a joint request for an explained decision has
    been submitted by all parties to the panel at least 20 days prior to the first scheduled hearing
    date. (5) The panel of arbitrators will typically include a minority of arbitrators who were or are
    affiliated with the securities industry. (6) The rules of some arbitration forums may impose time
    limits for bringing a claim in arbitration. In some cases, a claim that is ineligible for arbitration
    may be brought in court. (7) The rules of the arbitration forum in which the claim is filed, and any
    amendments thereto, shall be incorporated into this Agreement. B. Any controversy or claim
    arising out of or relating to this Agreement, any other agreement between Me and Robinhood, any
    Account(s) established hereunder, any transaction therein, shall be settled by arbitration in
    accordance with the rules of FINRA Dispute Resolution, Inc. ("FINRA DR"). I agree to arbitrate
    any controversy or claim before FINRA DR in the State of California. C. This agreement to
    arbitrate constitutes a waiver of the right to seek a judicial forum unless such a waiver would be
    void under the federal securities laws. If I am a foreign national, non-resident alien, or if I do not
    reside in the United States, I agree to waive My right to file an action against Robinhood in any
    foreign venue. D. No person shall bring a putative or certified class action to arbitration, nor seek
    to enforce any pre-dispute arbitration agreement against any person who has initiated in court a
    putative class action; or who is a member of a putative class who has not opted out of the class
    with respect to any claims encompassed by the putative class action until: (1) the class
    certification is denied; or (2) the class is decertified; or (3) the customer is excluded from the
    class by the court. Such forbearance to enforce an agreement to arbitrate shall not constitute a
    waiver of any rights under this Agreement except to the extent stated herein.

    ACCEPTED AND AGREED: I acknowledge that I have read the preceding terms and conditions of this
    Agreement, that I understand them and that I hereby manifest my assent to, and my agreement to
    comply with, those terms and conditions by accepting this agreement. I ALSO UNDERSTAND THAT
    BY ACCEPTING THIS AGREEMENT I HAVE ACKNOWLEDGED THAT THIS AGREEMENT
    CONTAINS A PREDISPUTE ARBITRATION CLAUSE IN SECTION 38 HEREIN. I ALSO AGREE (1)
    THAT ANY OF MY MARGIN ACCOUNT SECURITIES MAY BE BORROWED BY ROBINHOOD OR
    LOANED TO OTHERS; (2) I HAVE RECEIVED OF A COPY OF THIS AGREEMENT AND (3) I HAVE
    REVIEWED A COPY OF THE MARGIN DISCLOSURE STATEMENT.

    Appendix A

    Electronic Fund Transfer Services Disclosures
    The following disclosures apply to the use of any EFT services offered by Robinhood, including the
    Card, ACH transactions and the Move Money functionality of the App.
    Solely for purposes of these disclosures: (i) references to the Bank shall include any financial institution
    that issues the Card or provides services in connection with ACH, Move Money or other EFT
    transactions; (ii) "you" and "your" mean the owner of the Account; and (iii) "we" and "us" means
    Robinhood and the Bank collectively.




                                                         29                                               2020.12
Case 1:21-md-02989-CMA Document 409-1 Entered on FLSD Docket 09/21/2021 Page 31 of
                                      34


    1. Your Liability.

    Contact Robinhood Customer Service AT ONCE if you believe your Card or PIN has been lost or stolen
    or if you believe that an electronic fund transfer has been made without your permission. Telephoning is
    the best way of keeping your losses down. You could lose all the Available Funds in your Account (plus
    your maximum overdraft line of credit). If you tell Robinhood within 2 business days after you learn of
    the loss or theft of your Card or PIN, you can lose no more than $50 if someone used your Card or PIN
    without your permission.
    If you do NOT tell Robinhood within 2 business days after you learn of the loss or theft of your Card or
    PIN, and Robinhood can prove that it could have stopped someone from using your Card or PIN without
    your permission if you had told Robinhood, you could lose as much as $500.
    Also, if your statement shows transfers that you did not make, including those made by Card or using
    your PIN, tell Robinhood at once. If you do not tell Robinhood within sixty (60) days after the statement
    was mailed to you, or otherwise made available to you, you may not get back any money you lost after
    the sixty (60) days if Robinhood can prove that Robinhood could have stopped someone from taking the
    money if you had told Robinhood in time. If a good reason (such as a long trip or a hospital stay) kept
    you from telling Robinhood, Robinhood will extend the time periods.


    2. Contact in event of unauthorized transfer.

    If you believe your Card or PIN has been lost or stolen, contact Robinhood by emailing
    help@robinhood.com,.


    3. Business Days.

    Business Days are Monday through Friday, excluding federal holidays.


    4. Transfer Types and Limitations.

    You may use your Card to make purchases at any merchant that accepts Mastercard debit cards or
    debit cards of other networks in which the Bank participates, and to make ATM withdrawals, in each
    case subject to the Available Funds in your Account, the transaction limits described below, and the
    other terms and conditions of this Agreement. You acknowledge and agree that the value available to
    you for use with the Card is limited to the Available Funds in your Account. So long as you do not
    exceed the Available Funds in your Account, you may use the Card to purchase goods or services
    wherever the Card is honored, and to obtain cash by initiating cash withdrawal transactions through the
    Card from any financial institution or ATM that accepts the Card. Each time you use the Card, you
    authorize Robinhood to reduce the Available Funds in your Account by the amount of the purchase or
    withdrawal and any applicable fees, costs, or holdings. Nevertheless, if you exceed the Available Funds
    in your Account you shall remain fully liable to Robinhood for the amount of the transactions and any
    applicable fees and charges.
    You may also make ACH withdrawals from your Account, either originated through Robinhood or
    originated by a third party (a "non-originated" withdrawal), subject to the Available Funds in your Account,
    the transaction limits described below, and the other terms and conditions of this Agreement. You also
    may make ACH deposits to your Account, either originated through Robinhood or originated by a third
    party (a "non-originated" deposit), subject to the transaction limits described below.
    There are limits on the dollar amount of transactions you can make with your Card each day and each
    month, and limits on the amount of ACH withdrawals and deposits you can make each day. The
    following lists the limits for each type of transaction:
    Originated ACH Withdrawals* Daily Limit: $50,000.00
    Weekly Limit: N/A Monthly Limit: N/A


                                                        30                                               2020.12
Case 1:21-md-02989-CMA Document 409-1 Entered on FLSD Docket 09/21/2021 Page 32 of
                                      34


    Originated ACH Deposits* Daily Limit: $50,000.00
    Weekly Limit: N/A Monthly Limit: N/A
    Non-Originated ACH Withdrawals* Daily Limit: $250,000.00
    Weekly Limit: N/A Monthly Limit: N/A
    Non-Originated ACH Deposits* Daily Limit: $250,000.00
    Weekly Limit: N/A Monthly Limit: N/A
    Point of Sale Purchases with the Card* Daily Limit: $5,000.00 Weekly Limit: N/A Monthly Limit:
    $15,000.00
    ATM Withdrawals* Daily Limit: $510.00 Weekly Limit: N/A Monthly Limit: $5,000.00
    Originated ACH* Daily Limit: N/A, subject to the Weekly Limit Weekly Limit: $2,999 Monthly Limit: N/A


    5. Fees.

    We will not charge you any fees for use of ATMs that are part of the AllPoint or MoneyPass ATM
    networks, or for point of sale transactions using the Card, or for initiating other EFTs on your behalf. If
    you withdraw funds from ATMs outside of the AllPoint or MoneyPass ATM networks, you may be
    separately assessed fees by those ATM owners or operators.


    6. Confidentiality.

    We may disclose information to third parties about you, your Card, or the transactions you make using
    any of the EFT services we provide:

        1. Where it is necessary or helpful for completing or correcting transactions and resolving claims
           regarding transactions;
        2. In order to verify the existence and condition of your Card or your Account for a third party, such
           as a merchant;
        3. In order to comply with a valid request by a government agency, a court order, or other legal or
           administrative reporting requirements;
        4. If you consent by giving us your written permission;
        5. To our employees, auditors, affiliates, service providers, or attorneys as needed;
        6. In order to prevent, investigate or report possible illegal activity;
        7. In order to issue authorizations for transactions on the Card;
        8. As permitted by applicable law; or
        9. Otherwise as necessary to fulfill our obligations under this Agreement and the terms applicable to
           the EFT service you are using.
    Please see Robinhood's privacy policy, available at about.robinhood.com/legal, and the applicable
    Bank's privacy policy, available at https://www.suttonbank.com/_/kcms-doc/85/49033/WK-Privacy-
    Disclosure-1218.pdf, for further details. (The Robinhood privacy policy and the applicable Bank's privacy
    policy are referred to collectively as the "Privacy Policies"). You hereby agree to Robinhood's and the
    Bank's collection, use and sharing of information about you and the Card as provided in the Privacy
    Policies, which are made a part of this Agreement. The Privacy Policies also tell you how you can (i)
    limit the ways in which Bank and Robinhood share information about you, or (ii) request corrections to
    the information that Bank or Robinhood maintain about you. You agree that information you provide in
    connection with your Card or other EFT services you use is being provided directly to both Robinhood as
    the holder of the Account associated with the service and the Bank as the Card issuer or provider of the
    EFT service, as applicable.


    7. Documentation.

    Terminal Transfers. You can get a receipt at the time you make any transfer to or from your Account
    using an ATM from the AllPoint or MoneyPass ATM networks or at the point of sale.

                                                          31                                               2020.12
Case 1:21-md-02989-CMA Document 409-1 Entered on FLSD Docket 09/21/2021 Page 33 of
                                      34


    Preauthorized Credits. If you have arranged to have direct deposits made to your Account at least once
    every 60 days from the same person or company, the person or company making the deposit will tell you
    every time they send us the money. You can also check your Account online to see if a deposit has been
    received.
    Periodic Statements. You will get a monthly Account statement, unless there are no transfers in a
    particular month. In any case you will get the statement at least quarterly. You may obtain information
    about the Available Funds in your Account and a history of your Cash Management transactions on the
    App.


    8. Preauthorized Payments/Stop Payment Procedure and Notice of Varying
    Amounts.

    You do not have the right to request that Robinhood in advance make regular payments out of your
    Account, although you may ask third parties to initiate regular payments out of your Account.
    Right to stop payment: If you have automatic recurring payments taken out of your Account, you can
    stop any of these payments by contacting us at help@robinhood.com,. You must contact us in time for
    us to receive your request at least three business days before the payment is scheduled to be made.
    Notice of varying amounts: If these regular payments vary in amount, the party you are going to pay will
    tell you, 10 days before each payment, when the payment will be made and how much it will be. (The
    party you are going to pay may allow you to choose to get this notice only when the payment would
    differ by more than a certain amount from the previous payment, or when the amount would fall outside
    certain limits that you set.)
    Liability for failure to stop payment of a preauthorized transfer: If you order us to stop a payment at least
    three business days before the transfer is scheduled and we do not do so, we will be liable for your
    losses or damages.


    9. Our Liability.

    If we do not complete a transaction to or from your Account on time or in the correct amount according
    to our Agreement with you, we will be liable for your losses or damages. However, there are some
    exceptions. We will not be liable, for instance:

        1. If through no fault of Robinhood or the Bank, you do not have enough Available Funds in your
           Account to complete the transaction;

        2. If a merchant refuses to accept your Card;
        3. If an electronic terminal where you are making a transaction does not operate properly, and you
           knew about the problem when you initiated the transaction;
        4. If access to your Card has been blocked after you reported your Card lost or stolen;
        5. If there is a hold or your funds are subject to legal or administrative process or other encumbrance
           restricting their use;
        6. If Robinhood or the Bank have reason to believe the requested transaction is unauthorized;
        7. If circumstances beyond the control of Robinhood or the Bank (such as fire, flood, or computer or
           communication failure) prevent the completion of the transaction, despite reasonable precautions
           that Robinhood or the Bank have taken; or
        8. For any other exception stated in this Agreement with you or by applicable law.




                                                         32                                                2020.12
Case 1:21-md-02989-CMA Document 409-1 Entered on FLSD Docket 09/21/2021 Page 34 of
                                      34


    10. Errors or Questions About Electronic Transfers.

    In case of errors or questions about your electronic transfers, including your Card transactions, or if you
    think your statement or receipt is wrong or if you need more information about a transaction listed on the
    statement or receipt, contact Robinhood by emailing help@robinhood.com,. Robinhood must hear from
    you no later than sixty (60) days after you were sent the FIRST statement on which the problem or error
    appeared.
        1. Tell Robinhood your name and account number.
        2. Describe the error or the transfer you are unsure about, and explain as clearly as you can why
           you believe it is an error or why you need more information.
        3. Tell Robinhood the dollar amount of the suspected error.
    Robinhood will determine whether an error occurred within ten (10) business days after Robinhood hears
    from you and will correct any error promptly. If Robinhood needs more time, however, it may take up to
    forty-five (45) days to investigate your complaint or question. If Robinhood decides to do this, Robinhood
    will credit your Account within ten (10) business days for the amount you think is in error, so that you will
    have the use of the money during the time it takes Robinhood to complete our investigation.
    For errors involving new accounts, point of sale, or foreign initiated transactions, Robinhood may take up
    to ninety (90) days to investigate your complaint or question. For new accounts, Robinhood may take up
    to twenty (20) business days to credit your Account for the amount you think is in error.
    Robinhood will tell you the results of our investigation within three (3) business days after completing the
    investigation. If Robinhood decides that there was no error, Robinhood will send you a written
    explanation. You may ask for copies of the documents that Robinhood used in our investigation.




                                                         33                                               2020.12
